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                      UN ITED STA TES D ISTRICT COURT FO R THE
                              D ISTRICT OF M A RY LAN D    -
                                                                        -   RR
                                                                             . . .- -
                                   Southem D ivision       - -
                                                                            L

W illiam W hittm an                              )                          JUN 8 2 F@C'2
                                                                             A1ea=y*Ekr
7805 Edm unds W ay                               )
Elkridge,M D 21075                               )                           U.
                                                                              *-& >-
202-391-5582                                     )                                      1%
sam ieiokaa vahooœom                              )
              Plaintiff
        V                                                casex o.   na-cv-/f'
                                                                            V: x-po
PPE CA SINO RESORTS M A RY LAN D ,LLC
d/b/a LiveCasino & Hotel
Form erly M aryland Live!Casino                          Jury TrialRequested
SUITE 7777                                                                   z0:kHd&& Nnr ;&
7002 ARUNDEL M ILLS CIRCLE                                                  GN 1338N33d9 -30S0
HANO VER M D 21076

Tl'
  lE CORDISH COM PANIES,m C.                     )
SUITE 600                                        )
601E PRA'IT ST                                   )
BALTIMOREM D 21202-3114                          )
                     œ fendants                   )


                                       CO M PLM NT

       Plaintim W illiam WhittmanGGpro-se''bringsthisActionforRelietlunderTitle11ofthe
CivilRightsAct0f1964andunderTitle42,Chapter21oftheUS.Code.statingasfollows:
              n is isa D iscrimination Case based on NationalOrigin.

       2.     n isCourthasjurisdictionoverthismatterbasedontheFederalquestion,and
              Venue isproperbecause the location ofthisplace ofaccom m odations ''
                                                                                 L ive

Casino (f7Hotel',fallsunderthe geographicallocation ofthisCourt.

              œ fendants,inthisplaceofaccommodation''haveengagedinasystematicand
m utine unlawfulact,denying plaintiffwhatism ade available,to otherclient-guests,giving rise

to these causesofaction


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       5.        Pursuantto42 USC CHAPTER 21,SUBCHAPTER 11.(PUBLIC
ACCO         ODATIONS),j2000(a)(EqualAccess):'S
                                              AIIrcnçon.
                                                       çshallbeentitled/t>thehdlJrlt'
                                                                                    d
equalenjoymentt'
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               .
               /'//?t,goodv.services./izt?#ï/ïc,
                                               &,privileges.Jll.
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                 ThesesystematicandroutinediscriminatoryofthesedefendantsgaveHseto 1)
DiscriminationCausesofAction (FederalQuestion)aswellastotheM aryland-Recognized-Tort
Claimsotè 2)BadFaith,UnfairBusinessPractices(CPA 2017),3),MaliciousProsecution,4)
Retaliationand5)Slanderembarrassing,humiliating,intimidatingandthreatening#/J/n/f
                                                                                .
                                                                                #'ïa
the e-ve,
        5'ofothers.f/7rtlllg//PublicHumiliationfornothingplaintifrhasdonetodeservethis.
                 These actsthatform a pattern ofbnsinesspractices,conductand behaviors,have

deprivedplaintiffoftherightsthataresœuredby42USC CHAPTER 21,j2000a-2.(a)and
fJpppl-J.((b).
       8.        n eviolationofthis''CHAPTER (42 USC CHAPTER 21)providestbrmlieffor
plaintiffand punishm entslbrthe wrongdoers,as stated in thetextfrom the chapter,incom orated

bellow .
       ''
             Nopersonshall(a)withhold,deny,orattempttowithholdordeny,ordepriveor
           ...


       attem ptto deprive any person ofany rightorprivilege secured by section 2000a or
       2000a-1ofthistitle,or(b)intimidate,threaten,orcoerce,orattempttointimidate,
       thm aten,orcoerce any person w ith the purpose ofinterfering w ith any rightorprivilege
       securedbysection2000aor2000a-1ofthistitle,or(c)punishorattempttopunishany
       person forexercising orattem pting to exercise any rightorprivilege secured by section
       2000aor2000a-1 ofthistitle...''.

                 n isActionisinitiatedwithinthestatuteoflimitation,includingarangeof
discrim inatory actsthatbegun as faras Sum m erof2018,with the l% tdiscrim inatory act,giving

riseto these causesofaction,occurred on Tuesdav.Julv 20.2021.



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       10,    Plaintiffhaswarned the defendantssince the very flrstunlaw fulactionsofthese

defendantsagainstplaintië notto destroy electronically stored information,thatwillprove
indisputably allthealleged claim s

              Defendantshave adm itted on M ay 13,2022,replying to plaintiffsattem ptto

m solvethese m attersw ith them outside the court,thatthese defendants have allthe recordings

pertaining to aIlthe alleged acts,w ith the Executive,Vice PresidentofLive Casino and Hotel,

How ard G .W einstein,stating in w riting thatthey have m view ed each and every and found that

based on theirevidence they have done nothing w rong,and

              The videos they have review ed prove thatplaintiffw asthe one w ho engaged in

unlaw fulactsofdestroying and bmaking theirm achinesforexam ple,having casted them

$1364.42 to fix and orreplacethatmachine
       13.    ltisexactly thissam e evidence,thatthey cannoteven think now atthispointto

destroy having adm itted they have these eleckonically stored inform ation thatplaintiff willuse

to prove the opposite ofwhatthey claim ,foreach ofthe despicable actsofthese defendants,

including the factthatthisexactm achine wasm alfunctioning fordaysand thatno button panel

wasbroke orcracked orGxed orreplaced due to som e plaintiffsconduct.

       l4.    Plaintiffsœ ks:

                      1.2 million in ActualD amages,orin the alternativew hateverdollar

                      amountthejuryfindsrightandjust
              2)      350,000.00.PunitiveDamagesforeachofthediscriminatorycountand
                      foreach unlaw fulactsand claim s,like the m aliciousprosecution w ith the

                      intenttodiscriminateorthealternativewhateverdollaramountthejury
                      fndsrightandjustand

                                          Page 3of82
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               3)    fegalFees& Cost,pumuantto42USC CHAPTER 21.
                                                              67#49#(b).
               4)    July Trialand
               5)    theServiceoftheAttorneyGeneral,pursuantto 92000a-5(a).


                                     JURISDICTIO N A ND VEN UE

      Jurisdiction

       15. SubjectMatterJurisdiction.TheFedel'
                                             alDistrictCourtshaveoriginaljurisdiction
ofalIcivilactionsarisingunderthelawsoftheUnitedStates.(28U.S.Codej 1331).
      Venue

       16. VenueisproperinthisHonCourtpursuantto28U.S.C.j1391(b)(1)and28
U.S.C.j1391(b)(2),becausealIhappenedhere,intheçtiveCasino& Hotel''locatedwithinthe
territorialjurisdictionofthisHonCourt.




                                              PA RTIES

               W illinm W hittman,(AkaSamiGjoka)isnamralpersons,(USCitizens)andhis
currentaddress is:

7805 Edm undsW ay
Elkridje,MD 21075
samiçoka@ yahoo.com
202-391-5582
sam ieiokal vahoo.com



       l8.     PPE CASIN O R ESO RTS M AR YLA ND ,LLC .,d/b/a five Casino (f H oteland

FormerlyknownasMarylandLive!CasinoCM C isaM arylandBasedentity(De- tmentlD

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Number:W12880514)withitsPrincipalOfficeAddressat:601EPRATT STREET,617-
                                                                     1
FLO OR.BA LTIM ORE M D 21202 and its residentagentto sel've pm cess is:

       CSC-LAW YERS INCORN RATING SERVICE
       COM PANY
       7 ST.PAU L STREET
       SU ITE 820
       BA LTIM O RE M D 21202



       19. THE CORDISH COM PANIES,INC.(D 12355152)and/orTheCordish
Companies,(1+ 274165)isand/oram MarylandBasedEntitywithits(their)PrincipalOffke
Addressat:

       TH E CO RD ISH COM PAN IES
       601EA ST PRAU STREET
       SUITE 600
       BALTIM ORE M D 21202



                                    T H E LEG A L BASIS

       20.    n isisa D iscrim ination Case based on NationalOrigin,bm ughtto thisFederal

Forum asaFEDEM L QUESTION.
      21. Pursuantto42 USC CHAPTER 21,SUBCHAPTER II..(PUBLIC
ACCO&SIODATIONS),j2000(a)(EqualAccess):''
                                        Allpersonsshallbeentitletitothefullfwtf
equalenjoymentqfthegoodb'
                        .services,facilitiesprivileges,advantages,andaccommodations''
                                                                                    .
      22. Plaintiffseeksactualandpunitivedamagesintheamountthatajuryofhispeers
willtightrightandjustand
      23.     Plaintiffintentsto acquire Service ofthe Attorney G eneral,in accordance w ith

Accordingto j2000a-5(a)withPlaintil pmperlyandtimelyandinaccordancewith j2000a-5.
applying to engage the Service ofthe Attom ey General.

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       24.    Accordingto j2000a-5(a)Complaint;
              ''W henever the Attorney Generalhas reasonable cause to believe thatany
              personorgropzr ofpersonsisengagedinapatternorpracticeofresistanceto
              thefullenjoymentofanyoftherightssecuredbythissubchapter,andthatthe
              patternorpracticeisofsuchanatureandisintendedtodenythefullexerciseof
              therightsherein describe4 theAttorney Generalvlc-pbring a civilaction in the
              appropriatedistrictcourtoftheUnitedStatesbyfling withitacomplaint(1)
              signedbyhim (orinhisabsencetheActing AttorneyGeneral),(2)settingforth
              factspertainingtosuchpatternorpractice,and (3)requestingsuchpreventive
              relief includinganapplicationforapermanentortemporaryinjunction,
              restrainingorderorotherorderagainstthepersonorpersonsresponsiblefor
              suchpatternorpractice,ashedeemsnecessarytoinsurethefullenjoymentof
              therightsherein described

       25.    lnAccordancewith92000a-5(b)
              ''n e Attorney Generalm ay file with the clerk ofthiscourta rm uestthata court
              ofthreejudgesbeconvenedtohearanddeterminethecase.Suchrejuestby
              theA ttorney G eneralshallbe accom panied by a certificatethat,in hls opinion,
              the case isofgeneralpublic im portance.A copy ofthe certitk ate and requestfor
              athree-judgecourtshallbeimmediatelyfumishedbysuchclerktothechief
              judjeofthecircuit(orinhisabsence,thepresidingcircuitjudgeofthecircuit)in
              whlchthecaseisjending.Uponmceiptofthecopyofsuchrequestitshallbe
              thedutyofthechlefjudgeofthecircuitortheyresidingcircuitjudge,asthecase
              maybe,todesignateimmediatelythreejudgeslnsuchcircuit,ofwhom atleast
              oneshallbeacircuitjudgeandanotherofwhom shallbeadistrictjudgeofthe
              courtin which the proceeding wasinstituted,to hearand determ ine such case,
              anditshallbethedutyofthejudgessodesignatedtoassignthecaseforhearing
              attheearliestpracticable date,to participate in the hearing and determ ination
              thereof,and to causethe case to be in every w ay expedited.An appealfm m the
              tinaljudgmentofsuchcourtwilllietotheSupremeCourt.
       26.    Furtherm ore,in case the A ttorney G eneraltakesthiscase,the attorney'sfees

dem anded in thiscom plaint,shallbe paid,by these defendants,to the office ofthe attorney
generalin the am ountthata private representation norm ally w ould have charged forthese

mpresentations.

       27.    A sto the liability of'IRIE CORDISH CO M PANIES,lNC., thisissuehasalready

% enresolvedinStocks v.CordishCompanies,Inc.,Cfvï/-dc/fopNo.2014-1999(D.D.C.20153.



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       28. Cordish(thedefendant)triedtopersuadethecourttodismissCordish,as
defendants,arguing thatCordish be dism issed because Cordish doesnotown oroperate this
casino w ith the courtfinding thatCordish has adm itted and given notice to the w orld,through its

consistentadvertising and had given notice to the w orld thatCordish indeed ownsand operates

thiscasino and

       29.    Cordish continueseven m ore now to adm itand give notice to the world that

Cordish indeed ow nsand operatesthiscasino ''Live Casino & Hotel''
                                                                 ,as seen in som e ofthe

incom orationsbellow .




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   A Vesssge rom DavidCordis                                                                                         ï'
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                               q. .
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   Live!isMneconom ic enginethatwillcreatem axim um comm uni
                                                           ty
   benefks forthe City ofRichm and'including:
       .   A robustcommuniW engagem entplanwith$2Q: million in
           upfronNongoing paym ents to the City te help fund çriticalneeds;
       .   Generate over$/.5 blllion in economicstim ulustothe CiN in its
           first15years,morethan any otherprcject;
       .   8,nM tétalnew jpbq,including5,000 estimated during
           construction and 3,000naw perm anentjobsforlncaland
           reginnalresidents'
                            ,and
       .   Averagewages cf$* ,O n incl
                                     udlng benefits and ncIess than
           $15 anhourforhourlyteam m embers.65.6% @verthe reginn's
           m inim um wape.

   Stay upto date byvisiting curwebsitenrjoining our
   FacebonkorInstagram socialchannels.The Richm ond Econom ic
   Developm entAuthnrlty, hasawebsitethati
                                         ncludesm ore lnfnrmation
   aboutthe process.
   PENDING FINALAPPROVAL FROM THE CIW O F RICHMO ND
   Iappreciate w urhelp and I00kforw ard to welcom ing Live!to
   Richm nndl
   Respectfull
             y Yours,

                #                        *
   <




   DavldCordish




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                                   STAM EN T O F FAC TS

30.    PlaintifhasorganizedtheStatementofFactsintofivegroups:
              Facts evidencing thatthe rights and privilegesoffered to alIw ere denied to
              plaintiffbased on plaintim sA ncestry Origin.

              Factsevidencingequalaccessandenjoymentifthisplaceofaccommodation
              based on plaintim sAncestry Origin.

       111. Factsevidencingexploitation ofplaintiftlforthebenefitand interestoftheir
              A m erican born guests

       IV .   Factsevidencing False A rm st& M aliciousProsecution againstplaintiffforthe
              benefitand the interestofthe A m erican Born Guests.
       V.     Factsevidencing Retaliation againstplaintiffasreaction to Plaintiffsw arning of
              a LegalActions.



                                           1.
Factsevidencing thatthe rights and privilega olered to alIw ere denied to plaintil based
                            on plaintiœ sA ncestc O rigin.


Count 1
       31.    A round January-February of2017,plaintiffused to play ''
                                                                     Progressive Sun M oon''

slotm achineslocated nextto Cheesecake Factory,in thiscasino; 6*Live CcWno and Hotel''
                                                                                     .

       32.    O ne night,whileplaying in oneofthe 'Trogressive Sun M tm zz''m achines,

plaintiffwitnessed aLatino couplethathehad becomeacquainted with (Ana andSalvador)
playing inoneofthe slotmachinesthathaveaprogressiveamountof$500.00.
       33.    Salvadorcam e to plaintiffand asked plaintiffifplaintiffwanted to take overtheir

m achine becausethey had inserted a Iotofm oney on itbutthey were running outofm oney and

the progressive am ountw asfhshing,indicating itwasgetting close to hit,w ith the progressive

amountalmostat$500.00.


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       34.     Plaintiffwasglad and seized thisopportunity and started to play theirm achine

with them nextto him .

       35.     AAerplaying theirm achine forhalfan hour,w ith no luck,plaintiffdecided to go

back to hisSun M oon M achinew here he had invested a good nm ountofm oney,asw ell,

planning to come back to ''
                          Ana's(Q7Salvador'
                                          sM achine''ifhehittheprogressivejackpotinhis
m achine,orlend A na and Salvadorsom e m oney forthem to play theirm achine.

       36.     Plaintiffhad a blackcard membershè and thecasino providedaprivilegeto
blackcard members to hold am achine they w ereplaying forup to fourhours.

               Plaintiffcalled a slotattendantand asked herto block the m achine forhim .

       38.     œ ce the slotattendantdisabled the m achine,plaintiffreturned to hisSun M oon

M achine and started to play it.

               Assoon as plaintiffstarted to play hisSun M oon M aehine the attendantcam e

back to plaintiffand told plaintiffthatifhe cannotplay anotherm achine while they had another

m achine blocked forhim .
        40.    The attendanttold plainti/ to stop playing the Sun M oon M achine orshe w ould

open the other m achine forthe otherplayers.
               Plaintiffhad seen m any black card m em bersblock a m achine they w ere playing

fora while and play anotherm achine,w ith no questions asked,and this diFerentialtreatm ent,

m ade hurtand deeply disturbed him .

       42.     The attendant,opened the m achine he had reserved.

                                            -   0-




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Count2

       43.    A few monthslater,(around Springof2017)plaintiffstartedtoplayanothertype
ofslotmachinescalledProgressiveTripleSevenBlazing.(Seepicturesbelow).




          W
       44.    Playing thesenew machines plaintiffgotacquainted and becam e friend w ith

anotherregularplayer,J.Lee.

       45.    Both Plaintiffs and J.Lee held theirrespective player'sm em bership card.

       46.    Both plaintiF and J.Lee are and look,and sound foreign born and theirEnglish is

farfrom perfect.

       47.    Plaintiffisa U S citizen ofA lbanian origin and Lee isa U S citizen ofKorean

origin.

       48.    Atsom e point,PlaintiF and J.Lee reached a decision to play the sam e m achine,if

one ofthem had losta lotofm oney in one m achine,in hopesto getback som e m oney they had

lostand m inim izethe risk ofuncertainties.

       49. TheseTrlpleSevenBlazing machinesusuallyhitthejackpotbeforereachingthe
$1200.00 pmgressiveamount.
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      50.     The reason w hy plaintiffand J.Lee used to play these m achines,isbecause

defendantsadvertise these m achinesas 98% pay back machines.




              n ese Seven Blazing m achinespay outifbarsorthe three sevensline up in the

centerline.

      52.     There are 2 kindsofSevens in these m achines;blazing sevens and plaintsevens.

      53. lf3blazingsevenslineup,theprogressivejackpotispaid.
      54.     Ifthree plain red Sevensline up,with the m axim um bet,the m achine pays

$300.00
      55.     Ifa m ixed ofsevens line up the payoutam ountis200 dollars.

      55.. Regardlessifthejackpothitsordoesnothit,thesemachinesareadvedise byto
pay out98% ofthe m oney invested on them .
              These Blazing Seven SlotM achines are located nextto the c% hierbooths in the

centerofthiscasino.

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       58.      n ese M achinesw erepreviously located atthe m ain entrance facing the entrance

to the m all.

       59.      Plaintiffsand Lee had seen each other,m any a tim e,lose alltheirm oney and seen

each othergo to the A'I'
                       M M achinesform ore m oney and w hen the A '
                                                                  IM would notgive m ore

m oney,go to the cashiers'b00th,thatperm its withdraws,fora very high fee,in desperate hopes

ofgetting back som e ofthe 98% ofthe m oney Iost.

       60.      W hen the friendship and the leveloftrustglrw between the two ofthem ,plaintiff

and Lee started to borrow m oney from each other,when lim itswere reached to w ithdraw from

cashiers and orto save the very high fee they paid,using the casino'scashiers.

       61.      Furtherm ore,w heneverLee orPlaintifflosta lotofm oney in one ofthese

m achinesand the m achine had notpaid anything yet,believing,in good faith,based on the

defendants'representation,thatthatm achine should be xady to pay,and w anting notto let

som eone else,getthem oney they had spent,each would callortextthe otherorask the otherif

both were presentto 'nke overthatm achine,in hopesthatitw astim e to pay.

       62.      Plaintiffand Lee.often played the same m achine to m inim ize theirlosesand

increase the chance to getback som e ofthe 98% they had lostand:

       63.      Som etim e around Aprilof2018,playing these blc ing sevensplaintiffsrun quick

outofmoney and waswaitingforLeewhoowedhim $800.00dollarstoarrive.
       64.      Using theprivilege ofthe black card m em bership plaintiffcalled a slotattendant

to place a cup on hism achine.

       65.      A Rerthe attendantdisabled the m achine,plaintiffsetnextto hisfriend,an

Americanbornblack lady(Sylvia)waitingforLee,tocome.




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       66.    n e attendantcam e back to plaintiffand told plaintiffthathe had to leave the

casino tloororshe would puthisdisabled m achinesback in service.

       67.    The attendanttold plaintiffyou can only block the m achine when you go to eator

go to getm ore m oney.

       68.    Sylvia,said to plaintiff: ''They shouldn '
                                                       ttellyou this,they never tellthisto us

(meaning tothosewhodonotlookorsoundforeignborn)andyou#/c>,andspentheretonsof
moneyever.pnightforthem totreatyouDkethis'.
       69.    'lhe attendanttold plaintiffhe had to leave ifhe w anted to keep the m achine out

ofservice.

       70.    Plaintiftlfelthurtandunhappy and wasimmenselydisturbed by such unprovoked
and undeserved hum iliating m istreatm entand w asforced to getup and leave,in ordernotto

have hisblocked m achine given to others,som ething A m erican born players neverhad to go

through in thisplace ofaccomm odation.

                                            -   0-

Count3
       71.    Onthetirstweekend ofJune2018 plaintiffwasplyingoneoftheseFrl
                                                                         //eSeven
Blazing m achinesand waslosing hism oney,asusual.

       72.     n erewereotherpeople,playingnextto him (the/w/ machines in hisright) and
they (thefwootherplayers)werelosinginafasterspeed.
       73.    They had lostm ore m oney than plaintiffand plaintiffwasthinking to getthose

two m achinesforhim and forJ.Lee ifthey decided to leave,w ithoutgetting back som e ofthe

m oney thy had spent.

       74. Whenthose2otherplayersleh anAmericanBornBlackfw# jumpedinandgot
both the m achines.
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              This appearing Am erican-Born-Black-Lady,howeveronly played these m achines

fora few spins each and then shecalled oneofthe slotattendantsto block them .

       76.    n is Am erican Born Black Lady,m ostlikely had been w atching the players lose a

lotofm oney and assum ing thatthese m achineshad to pay back 98% ofw hatthe 2 players ahd

Iost,decided to grab them and reservethem forherselforherfriends.

       77.    The slotattendantcam eand w ith no question asked,disabled both m achines.

       78.    Once the black lady w ho looked and sounded Am erican born leh,plaintiffcalled

the attendantand told herthat:''ce appreciateyou giving us the opportunit
                                                                        y to block the

machinesweplay,butthatwoman hadno rlkhttoputastop on thosefwo machinesbecause she
hasnotplayed thosemachinesbutonl
                               y insertedacoupleofdollarstogivetheimpressionshe
hadbeenplaying thosemachines,whileshehadnotand,abusing theprivilegeofblackcard
membershè andthisisnotgoodforthecasinoinaweekend wheneveryoneiswaitingfora
machine''.

       79.    The attendanttold plaintiffthatifa playerhasa black card and is sitting on a

m achine,theplayerhasthe rightto block them achinew ith no questionsasked even ifshe only

hashad only one spin.

                                           -   0-

Count4
     80.      n e very nextweekend,on Sunday June 10,2018 plaintiffarrived atthisCasino

around 10;30 AM and found Lee,playing the sam e Blazing 777M achines.

       81.    Lee had been playing allnightlong.

       82.    Lee wassad and exhausted and angry and desperate and stillinserting hundm d-

dollarbills,as if20-dollarbills,hoping,likealways,to getback som e ofthe 98% ofthe m oney

she had spent,back.

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       83.     Lee w asplaying m achine NO :13-18-02.

       84.     Lee told Plaintiffthatshe had had losta lotofm oney on thatm achine,and that

she had been playing allnightlong.

       85.     Lee had borrowed 500 dollarsfrom plaintiffa few days earlierand she had not

paid ityetto plaintiftl

       86.     Lee and plaintiffdecided to play thatm achinetogether from thatm om enton to

increase chance to w in and reduce the risk oflosing m ore,in hopesofgetting som e ofthe 98%

ofthe spentm oney.

       87.     n e agreem entthey had when the played the sam e m achine togetherw asthat

they startfrom the m om entthey decide to play togetherinvestequalmnountand splitequally

any w hateverthe m achinew ould pay them .

       88.     Lee wasnow physically siting in the m achine and playing,w ith theircom bined

m oney.
       89.     n ere are only 5 such m achinesin thatsection and thex w asa black American-

Born-œ estby the nam e ofM aurice who was playing allthe otherm achines,atthatm om ent.

       90.     M aurice w as and letting others play,going D und and round,with one spin per

m achine,leaving m oney in every m achine forthe nextspin round and round.
       91.     W hile these defendants,have notallow ed plaintiffand Lee to hold two m achines

faraparq since you cannotplay them atthe sam e tim e,these defendantsappeared to have no

problem allowingthisAmericanbornplayer(M aurice)holdallthemachinesatoncethatinno
way,shape orform ,could he play atonce,being so farapartfrom each other.

                                             -   0-



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Count5
     92.       ThisAppearing-Americanm orn r/tz-w r(M aurice)wasallowed bythese

defendantsto occupy aIlthe m achineson a busy weekend-day whileplaintiffand J.Lee assam e

asthe otherplayerswho looked IndianorSpanish,likeLeeand plaintil werenotpermitted,by
these defendants to hold two m achinesapart,even in a slowerweek day.

                                            -   0-

Count6
     93.       n ese Seven Blazing M achines arevery close to the security desk,on the rightof

the cashierboothsand very close to the casino employee entrance to the leftofthe cashiers'

b00th,andnoneofthecasinoemployeesseemedtobebotheredthatanAmericanbornWcper
could hold allthe m achines,w hile othersw ere waiting to play,butdid notallow foreign born

playersto hold even 2 m achinesaparq even in a slow day forthe casino.

                                            -   0-

Count7
     94.      Lee and Plaintiffplayed Lee'sm achine tillaround 2PM ,thatday,Sunday June

10,2018 unable to getthe m oney they spend and they were now only playing to hitthe

pmgressivejackpotandstopithavenalreadygivenuptheideathatthemachinewouldpayback
anything closeto w hatthey had spent.

       95.    n ey decided to take a break and plaintiffcalled a slotattendantthatwasnearby

and asked herto tum theirmachine offfora couple ofhours.

       96.     Thatslotattendantw msa w hite A merican lady nam ed Kim .

       97.    M aurice,the young black Am erican gentlem an thatwasplaying allotherfour

machines,going m und and round said as iftaking to him selfto plaintiff:'N o you can'tstop it

because.m ?zwerc notplaying''.


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       98.      M aurice,thisyoung black young Am erican born gentlem an said som dhing to the

attendant(attendantKim) ina lowervoice.
       99.      The attendantleh the m achinesdirectly aûer M auricew hispered som ething in her

ear,while Lee and plaintiffwere waiting forherto com e and disable theirm achine.

       100. W aiting forK im orany otherattendantto return,plaintiffstarted to play while

Lee w msw aiting behind plaintiffforthe slotattendantto com e back.

       101. Kim cam eback and % ked plaintiffto give herhisplayer'scard.

       102. Plaintifftook the card from the slotm achine and handed itto K im .

       103. Kim said she wanted to take hiscard and go and check ifhe had been playing

enough the m achine,something thathad neverhappened before w ith otherA m erican born

players,w ho ask to exercise this privilege offered to allbutdenied to people who appearto be

foreign born.

                                             -   0-

Count8
     104. Plaintiffw asvery hurtand deeply disturbed thatdespite the factthatonly a week

earlier,these defendantshad told plaintiffthatifaplayerhas a black card and dem andsto put

stop in a m achine,they w ould com ply with thatrequestw ith no question asked,even ifhe had

only had even one single spin butthiswasnotthecase forplaintiffand Lee,who looked and

sounde foreign ng born in thisCasino,

       105. This hum iliating and degrading and despicableactofthese defendantsto

com m and plaintiF and Leeto surrenderthe playing m em bership cr dsto them forthem to

verify,w hateverthey purported to verify to deny plaintiffand Lee hisrightsand privilegesnot

denied to Am erican born clientsgustsofthiscasino m ade plaintiff very unhappy and plaintiff

stilltold her tlrm ly and x spectfully thatisnotup to herto decide orto verify how m uch he and

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Leehadplayed,aslongastheywereplaying,whentheymadetherequesttohold(reserve)this
m achine.

                                            -   0-

Count9
     106. Plaintifftold KIM thathe him selfhad com plaintto them only aw eek ago notto

letpeople block m achines for2-3 dollarsinserted to use theirprivilege asblack card m em bers

and that

       107. D efendantsthem selveshad stated thatitistheirpolicy to com ply w ith players'

requestplace a cup on the m achine anytim ea black card m em berasksforthis,asIong asplayer

is playing thatm achine w hen he asksforthisservice.

       108. The attendantleftagain and again cam eback accom panied by ayoung black

employeew hose nam e wasRhonda and who said in a very aggressive and harassing attitude,for

Plaintiffand Lee having asked to w hatw astheirrightand privilege.

       109    K im and Rhonda continued w ith theirharassing and degrading and hum iliating

acts againstLee and Plaintiff% ifLee and Plaintiffhad done som ething horribly wrong,to m ake

such a scene w ith every one Iooking atplaintiffand Lee,forasking these defendantswith a very

m spectfulm annerto pD vide to them w hatthey provided to allbutdenied to playersappearing or

sounding as foreign born.

                                            -   0-

Count 10
      110. Rhonda who said isthe floorm anagersaid to plaintiffthatthey checked outhis

mem bership card and he had notplayed enough to qualify forthis servicethatw asprovided to

Am erican born playersw ith no need forthem to check how m uch they had spentand thatw as

irrelevant,asto theirown adm ission.

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                                              -   0-

Count11
     111. Plaintifftold Rhonda and K im thatchecking how m uch he has spent,w asnotthe

correctthing to do and thatthiswasnotdecentand polite and dignifying because he and M s.Lee

had played thatm achine forso long,and Lee had hercard inserted m ostofthe tim e and thatthis

is i= levantanyhow because since they had a policy thattheblack-card-m em bers can mquestto

disabled the m achine they are playing atany tim e,irrespective how m uch they have played,

checking hiscard spending history isstupid,with plaintiffm eaning to say stupid to discrim inate

                                                  -   0-

Count12
     112. M anagerRhonda,escalate the situation,purposefully intentionally and deviously

distorting plaintiffstum ing to plaintiffand saying to plaintiff:''
                                                                  D on '
                                                                       tyou callme stupid''that

wasa despicable actto threatand intim idate plaintifffrom theirposition ofsuperiority w ith these

defendantshaving theirsecurity on the scene and thepoliceofA nm delCounty w alking,ohen

though thecasino tloor, arm s in arm sw ith them asin a police state,to intim idate and threaten

playersnotto dare questionsim proprietiesofthisheinousand despicable individuals and

entities,w ho everm ne plaintifftalksabout,believe thisistheresultofbribing the state,w ith

supposedly donationsthey m ake to have theirprotection and usetheA nne Arundel,to support

them even buy theirpresence asunpaid added security in thisplace,to intim idate people abused

by these individuals,like Plaintiffand Lee.

                                              -   0-

Count13
       113. OnceRhondasaidtoplaintiff''
                                      Don'
                                         tyoucallmestupid''fullyawarethatplaintifr
did notcallherthatshe leftin a hurry togetherwith K im ,with an im plied attitude,see whatw e

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willdoyouF..ingFOB k eshkom theboat)toleaveonethingandonethingoptionavailableto
plaintifrand Lee,leave the tloororface theirrage and angerand prosecution fordaring to ask

forequalopportunitiesin thisplace ofaccom m odations.

                                             -   0-

Count 14
      114. SecondslaterRhonda and Kim and anotherm anager,M r.Cooper and 2 security

om cersfollowing them rushed like an arm y ofintim idating and threatening thugstoward

Plaintiffand Lee,thatthese heinousand despicable entitiesand individuals have to produce

though com ersthey have since plaintiffhaswarned them thatday notto destroy the evidence,

which they would nothave dared destroy pursuantto theFed LawsofElectronically stored

information,fortheywillsœkjusticeinacourtofIaw fortheirheinousandunlawfuldespicable,
m taliatory and discrim inatory actionsthatday com ing tow ard Lee and Plaintiffasifthey were

som e crim inals in a placethey did notbelong,sim ply forasking w hatwastheirrightand

privilege,offered to allbutdenied to those these cow ardsperceived asnon-Am erican born.

                                             -   0-

Count15
     115. N eitherplaintiffnorLee deserved thishum iliating,degrading threatening and

intim idating treatm entand neitherplaintiffnorLee had done anything to deserve this despicable

thuggish tm atm ent,sim ply because there were tonsofAm erican bom guestsw aiting to play that

day,who to these cow ardsare the only ne entitled to the privilegesoffered to allin thisplace of

accom m odations.

              N eitherLee norPlaintiffthreatened,cursed ordem anded anything,and cam em

surveillancerecordswillprovethisingontofthejury,andplaintifrhasaskedthedefendantsnot
dare destroy thiselectronically stored information,pursuantto FederalRule 34.

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       117. NeitherPlaintiffnorLee threatened have even raised theirvoicesto anyone stuff

orplayerin thiscasino thatday orany day forthese despicable entitiesand individualsto com e

likethreats,threaten and intim idate harass and hum iliate plaintiffand Lee fordaring to ask they

pm vide to them w hatthey provide w ith no question asked to Am erican born m em bers ofthis

casino.

       118. NeitherPlaintiffnorLee show ed any nldenessorattitude becausethey were

denied,whatthisplace ofaccomm odation offered supposedly to everyone w ith a black orhigher

mem bership card buthonored these rightsand privilegesonly forthe playerslooking or

sounding Am erican Born

                                             -   0-

Count 16
      119. Plaintiffw asterrified to see M r.Cooperfollow ing Kim and Rhonda and the

security guardsw ith them allwalking toward Lee and Plaintiffin a very aggressive and

threatening m anner,asifthey were in a place they did notbelong,though there wasno one in

thatcrowed,who spend m orem oney forthisdespicable place than Plaintiffand Lee.every

single day and nightform any yearswith som etim eseach spending close to 10K a night.

                                             -   0-

Count 17
      120. Plaintiffhad seen a yearorso earlier,thisgentlem an,M r.Cooperwith a security

guard,escorta Latino m an outofthe casino tloor,w ith the m an asking them why they were

kicking him out.

       121. Plaintiffhad heard M r.Coopertellthe m an,EçBecause-m ?zare drunk''.

       122. n eLatino guytum edand asked plaintië who waswalking oppositetheir
direction:''Do Ilook Jrl/nk toyou?''.

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       123. n eLatino guy did notlook drunk atalltoplaintiq and plaintiffhad seen drunk
young white guys,acting crazy,alm ostevery Friday and Superday nightin this casino tloor

bothered by no one as long asthey did notlook fom ign born.

       124. PlaintiffhadtoldtheLatino guy:''
                                           Youdon'tlookdrunktomebut4/'
                                                                     //fE'
                                                                         .#'don'
                                                                               t
wantyou here be happy to go and xzzveyour money''
                                                .

                                            -   0-

Count18
     125      Plaintiffhad a bitterimage ofthisplace and especially ofthisM r.Cooper,since

thatm om ent,ofbeing very unfairand discrim inatory to theirSpanish looking client-guests and;

       126. Sœingthissamegentleman.(M r.Cooper)comestraighttohim andLeewith
otherm anagersand w ith 2 security guards,plaintifr becam e very nervousand fearfulofwhat

they w ould try to instigate orsay ordo to pm voke him and Lee reactsto find an excuse under

false pretensesto kick them outoreven arm stthem ,undertheirfalse and heinouspretenses,

because they dared to ask these defendantsto provide the sam e privileges,they provided with no

question asked to everyone butdenied to those looking and/orsounding foreign bom .

       127. Plaintiffasked Lee forthis reason to startmcording whateverwasaboutto

happened.

       128. M r.Cooper,introduced him selfasthe floorm anager,and addm ssed Lee by her

frstnam e,they had already checked the cardsand new theirnam es.
       129. M r.Coopersaid to plaintiffand Leethatthey cannotplace a cup on them achine

because they had notplayed enough,which w asa lie and irrelevantfact.

                                            -   0-




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Count19
         130. PlaintiffexplainedtoMr.Cooperagainwhathadjusthappenedandwhatthese
defendantshad said to him onlya few daysearlier,whentheblackladvhad blocked fw/ ofthese

machines,m achinesthatshe had notplayed atall,excepthita few spinsto block those

m achines,and repeated w ord perword these defendantspriorstatem entsthataslong asa black

care mem berisplaying in m achine,irrespective ofhow m uch orhow long she hasplayed she

hasthe privilege to block the machine and they w illprovide thatprivilege w ith no question

asked.

                                              -   0-

Count20
     131. M r.Cooperarrogantly,arbitrarily and w ith thecow ardness ofbeing from a

position ofsuperiority to threatened harassand intim idate repeated to plaintiff:''You Jxzve not

r/cJ?
    e# enough,sir forthisprivilege in thism achine ''while plaintiffwas stillplaying butnot

with his card because hiscard wasin theirhands because they had to go and check how m uch he

had played in thism achine w ith hiscard,som ething they neverdid w ith Am erican born clients.

                                             -    0 'w

Count21
     132. Plaintiffthen asked M r.Cooper; ''Canyou then tellushow much is enough so we

play somemoretoreach/& /amountbeforeaskingyoutoholditforus?''
         133. M r.Cooperx peated;''F0?
                                     zhave notspentenough''
                                                          .

         134. Plaintiffasked again M r.Cooper,how m uch w asenough.

                Cooperand Rhonda and Kim and the security Guardswere now staring at

plaintiftlasifsuprisedwhywasplaintiffstillplayingasiftheyexpectedplaintiffandLeetoget
up and leave.


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                                             -   0-

Count22
     136. Plaintiffsensed thingswere aboutto spin outofcontrolfornothing they had done

and butfordaring to ask thatthese defendantsdo notdeny to him and Lee w hatwasnotdenied

to A m erican born guestofthiscasino and to preventanything drastic and obliviousto occur,

plaintiF told M r.CooperthatLee w asrecording allofthis.

       137. Once plaintiffpointed outto them thatLeew as recording this act,they ascoward

asallthugsand crim inalsare changed theirattitude in the spot,trying to appearcivilized and

calm w ith Cooperstating to plaintiffthatin M aryland itis illegalto x cord anyone w ithouttheir

perm ission and consent.

       138. Plaintiffsaid to Cooperthatthey had the rightto do so,ifthey feelthreatened and,

in thisplace,and thatthey were being threatened and intim idated by them ,and thatthey did not

need perm ission,in thisplace since they recorded every movem entofevery single playerin the

casino flooralready and:

               Plaintiffwarned them to betternotdestroy theirrecording because he isgoing to

need this,to be presented in a courtoflaw ,a sa prove ofwhatthey did to him ,fornothing he

had done exceptask thatthey provide him w ith his rightand privileges,offered to allbutdenied,

ata1lcosto those looking foreign born and;

                                             -   0-

Count23
     140. Plaintiffdem anded again from them to know how m uch m ore did they need to

spend forthem to be ableto qualify forthe benefitsand privilegesthatthe A m erican born

qualised,w ith no setoftim e and am ountspend,aslong asthey are actively playing the m achine

when they m ake the request.

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       141. Cooperw ith the sam e degrading,harassing and intim idating tone ofvoice

mpeated:'7can'
             ttellN ?Zthat,itisup to ourjudgment''andthey lefk
                                            -   0-

Count24
     142. O nly 2 weeks later,on Saturday June 23,ataround 2 AM on weekend w ith

people w anting to play these slotm achines,an Am erican sounding and looking black lady was

playing m achine N o:13--8-04 and she decided to block the m achine shew asplaying and called

the attendant.

       143. The attendantdisabled the m achine with no question asked.

       144. No one took herm em bership card to go and check behind the casino tloorwalls

how much she had spentorhow long she had played.

       145. N o floorm anagersand no sœ urity guard w ere called to com e and threatened and

intim idate her forasking forthese privileges,with one and one expiation alone she being

Am erican born while plaintiffand Leeare not.




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                                               II.
 Factsevidencingdenialofequalaccessand enjoymentofthisplaceofaccommodation to
                    plaintim based onplaintilrsAncestry Origin.

Count25

       146. Plaintiffand J.Lee were two looking and sounding foreign born regularguests in

this casino who alwaysplayed theBlazing Sevens.

       147. O therswho played these m achines daily nightw ere Am erican looking and

sounding bom guestsincluding am ongstothersCindy and Valery,and Lisa and Angieand Isaac

and Anita,and Silvia and Dianne,and A lm ira and Randy and K eith.

       148. W hile allthe otherplayers experienced good bad nights,in these m achines,

Plaintiffand J.Lee were the only onesw ho lostevery night,as sam e as they were the only one

foreign born,thatw asalm ostim possible to occurby Iuck and chance.

        149. Even the Am erican bom players had ha1 tim e to believe thatplaintiffand Lee

were Iosing due to theirbad luck in thiscasino.

       150. Itw asforthisreason thatoneday,on July 2018,Cindy,Valery,Lisa and A ngie

who had alldeveloped som e kind offriendship,seeing every m achine turn cold on plaintiffthe

mom entplaintiffsetto play them ,asifa ghostkeptchanging thepayoutrate,based on who

playsw hat,in thiscasino,suggested to plaintiffnotto use hism em bership card,any m ore since

they did notlethim w in.

       151. They w erethere to m ake m oney forthem selvesand notto worry ifotherswin or

loseand chancesforthem to win aregreaterwhen othersloose,yet,even they (allofthem)had
startto believe thatthecasino w msnotIetting Plaintiffand J.Leew in and Plaintiffand J.Lee

were both foreign bom slow ly starting to believe thatthiscasino was exploiting the fox ign born,

dm in them to pleasehere and theretheA m erican born players in thisplaceofaccom m odation.

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       152. They had seen Plaintiffand J.Lee,w ho played,as sam e asthem ,these Blazing

Sevens alm ostevery night,loose,sometim e 6-7 thousand dollars anightand go hom e bm ke,

alm ostevery night,while

       153. They asallotherAm erican born playersin thiscasino had a lotofgood nights,as

well,as nightsoftenible loss and nightsofbreaking even,butnotlike Plaintiffand Lee who lost

everynightandeven iftheyhitoncehereandthereajackpot,itwasalmostnothingtohow much
they had putin,and

       154. n ey had seen Plaintiffand Lee spend every night6-7 thousand dollars.

       155. Cindy and Valery,and Lisa and Angie and lsaac and Anita,and Silvia and

Dianne,andAlmiraandRandyandKeith,al1Americanborn(blackandwhite),hadwitnessed
tim e ahertim e thatw hile the Am erican born gam blerscould lastin these m achinesforhoursand

som etim ealInightwith only 6-700.00 dollars,they had broughtw ith them to play,Plaintiffand

Lee lostalm ostthatam ountnightaRernight,as soon asthey setin to play,w ith m achines

tum ing cold to them assoon asthey setin to play,and as ifthe m achineswere program ed to

m onitorthe playersbased on the inserted card orface recognition,and thatappeared aw ay too

m uch ofabuse and exploitation ofthe foreign born players forthe interestand the benefitofthe

Am erican born.

       156. Cindy,aw hite Am erican born player,seeing plaintifrloose,like every night,in

CVC? m achine,w hile the Am erican born keptloosing and w ining asalw ays,as alldo in casino<

could nothelp one night,butask plaintiffifplaintiffthoughtitwasracist.

               Plaintiffwassure in him selfthathe and hisfriend J.Leew ere exploited,in this

casinotobenefitexactlythem,(hisAmericanbornplayer-friends),butplaintiffwasnow more
concern forthe factthat:


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       158. Since plaintiF had inform ed them thathe was going sue them ,fordenying him

the sam e rightsand privilegesoffered to all,he had seen and sensed they were trying to get

plaintiF in troubleto either force him stop com ing here orcreate a pretextto kick him outbefore

plaintiffsuesthem .

       159. Plaintiffw% sure in him selfthey wanted to ban him before the law suit,asa

prerequisite forthem to claim ,asa ground-ofdefense thatplaintiffwassuing them because he

wasbanned âom the casino and notforany discrim inatory actsoftheim .

                                                -   0-

Count26
     160. W hen Cindy asked plaintiF ifplaintiffthoughthistreatm entin thiscœsino racist

plaintifftold Cindy and othersnextto them :''fdon 'tkw/w butitis becom ing clear to me that

they are fr-pïag tofndanexcuseto&ckmeoutbeforee1suethem '
                                                        '.
                                                    -   0-

Count27
     16l. One weekend Sylvia had lostallhermoney and msked plaintiffto com e play her

m achine w ith herlastfew dollarsshe stillhad forplaintiffto be ableto place a cup in that

m achine,using his black card,so Sylvia could go getsom e m ore m oney and com e back,because

shehad already blocked earliera m achine and any oftheA m erican born guestcould only reserve

onem achineperday w ith no question asked.

       162. Plaintifftold Sylviathatw ith whatthey had done to him and Jenney Lee the other

day,taking his card to check how m uch he had played and bringing two security guardsand a

bunch ofpeople to bully,intim idate and harassplaintiffand Lee notto dare ask forprivileges

oFered,w ith no question asked to Am erican born guest,plaintiF w ould neverdare ask them

again even to reserve a m achine forhim self.

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           163. Sylvia wasvery unhappy and she m ade itclearto plaintiffthatshe believed

plaintiffsim ply did notwantto help her,im plying he would ratherwaitforherto leave and play

herm achinehim self.

           164. Plaintiffx iterateto Sylvia thathe can'tbecausethey m onitorhisevery m ove in

this ççshitw hole'',buthe can'tstop com ing because he haslosttonsofm oney here believing in

good faith thatthese m achinesçç-
                                rriple B lazing Sevens''w illone day pay him som e of98% of

whatlhave lost.

           165. Sylvia,fund plainti/ s statem entcrazy and she said laughing to plaintiff;''
                                                                                           A reyou

telling me thatsomeone behind those walls is keeping an eye on.m l
                                                                 z'
                                                                  ?''

           166. Plaintiffsaid to Sylvia '*jres,itis exactly whatIam saying Sylvia ''.

           167. .6please '' Sylvia told plaintiF;''don 'tgive me this bullshitno Aotf.pcarefyou

arehereornotletalonemonitoringyou.Theyl?llketoomuchmoney,screwingallofus,notto
carefyouevenexist''
       168. ''F01/wantmetoproveittoyou'';plaintiltoldSylvia.
       169. ''FeJ'''Sylviasaidtoplaintiff'proveittome'.
       170. ''Well,''plaintifftoldSylvia,'Iookhow manypeoplearehere,andletmesitfor
onlyafew secondsinasquattingposition,hereinfrontofyoufthey willnotcomeandtellme
asflam kindergartenchildtogetup''
       171. n ey laughed atplaintiff,thinking plaintiffwascrazy and Sylvia said:''
                                                                                 O k.Let'
                                                                                        s

XCC il$$

                  Plaintiffplaced hishand in the slotm achine nextto where Sylvia w as siting and

setin gontofSylvia in asquattingpositionbetween theBlazing Sevensand Frlle DoubleGold
M achines.:


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       173. In seconds a casino em ployee cam e outofthe doorsnextto the cashierbooths,

and started to w alk straightto plaintiffand Sylvia,asifsom eone had been pinpointing the

camerasatplaintiff.m onitoring plaintiffsevery single m ove to Gnd a pretextto harassand

intim idate plaintiF to reactto kick him outofthatplace,underfalse pretenses.

       174. Plaintifftold Sylvia:'Took,there they come Sylvia''

       175. &'You are crlz.y''said Sylvia to plaintifflaughing w hile atthatm om entthe casino

floorm anager,stopped in frontofplaintiffand Sylvia and told plaintiffto stand up.

       176. Plaintiffgotup w ith Sylvia shocked stating to plaintiff:

       177. ''You kidding m e.This ism ally f..ked up.lw ould have neverbelieved that''.

                                            -   0-

Count28
     178. On Friday July 20,2018,plaintiffarrived to the casino around 1l:45 PM .and all

the 777 blazing m achinesw are taken.

       179. Lee wasplaying in one ofthese m achines;m achine No:13-18-04.

       180. W hile plaintiffwaswaiting forone ofthese blazing machinesto open,plaintiffset

in one ofthequarterm achines,m achine N o.13-14-06 thatused to be nextto the blazing sevens

andstartedtoplayit,justnottogetbored.
        181. Plaintiffwasw aiting to play Lee'sm achine ifLee did notw in anything.

       182. n eprogressive am ountin one ofthese blazing m achines,m achine No;13-18-03

had passed $1,290.00.
       183. Isaac,a black Am erican born gentlem an w ho ism arried to anotherofplaintiffs

âiend,A nitw had occupied thatm achine and had been playing itform any hours.

       l84. Plaintiffand Lee werethinking to play thatm achine and try theirluck w ith the

jackpotifAnitaorIsaacdidnothititbutIsaacandAnitaeventuallyhitit.
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        185. Leekeptplayingthesamemachine(13-18-04.)thatshehadbeenplayingallnight
long.

        186.    ln the M orning,Saturday,July 21 around 2-3 A M ,M aurice,the black young

gentlem an w ho rushesto occupy any m achine,he seesopen and who willstealyourm achine

9om you,inablinkofaneye,evenifyougd justtostrdchyourlegs,ifthereisnomoneyinthe
m achine,gave plaintiffno chance to getany ofthe m achines,taking them and keeping them ,for

him selfspinning each m achine once and round and round.

         187. The only m achine M aurice wasnotplaying wasm achine 13-18-04 thatLeew as

stillplaying.

         188. n atearly m om ing,Saturday,July 21 M aurice wasaccom panied by his fem ale

giend,Daniele,who w asguarding hism achines forhim while he w entround and round,orw ent

to cash the tickets.

         189. Som etim e Daniele would go to cash M aurice'stickets while M aurice stayed

playing.
         190. M aurice lostm ostofhism oney and gave up fora w hile m achine num ber 13-18-

05,nextto Lee'sm achine.

         191. Lee sl rted to play thatm achine,w ithoutgiving up hers.

         192. M aurice,asM arcie doesw ith every m achine,the m om entLee w asnotpaying

attentionjumpedinLee'smachineinsertedhismoneyandstartedtoplayit.
         193. Lee w asangry w ith plaintifffornotstaying alertand preventM aurice from

stealing hersecond m achine.

         194. Leetold M arcie she had notsnished w ith itand thatplaintiffw asto ply itbecause

they play together.


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       195. M arcie ignored Leeand keptplaying m und and round.aIlthe m achines exceptthe

one Lee w asplaying.

       196. Lee told plaintiffthen notto worry aboutthisbecause M arcie m ostlikely will

give up quick,on thatm achine forthem to take itback,butas soon as M aurice,stm ed to play

Lee'sm achine,them achine turned,asiftouched by a m agic w and,9om com pldely cold to a

veryhotmachine,givingMarciethelvdsevensevery2-3minutesanditalsohitthejackpot,on
top ofaIIthism aking Plaintiffand Lee very unhappy.

       197. Lee leR the area very angry and upsetseeing this sam e system atic pattern in this

casino,using,abusing and exploiting Plaintiffand herforthe benefitand interestoftheir

Am erican born guests.

       198. PlaintiffsatattheTriple DoubleG old m achines,w aiting forM aurice to free any

ofthe m achines.

       199. W hile plaintiffwassitting,w aiting foram achine the security guard cam e to

plaintiffand asked plaintiffw hatw ashe doing sitting thex .

       200. Plaintiffwascom pletely Iostw hathe m eant,because thishad neverhappened to

him before and he had neverseen anyone from casino security ornotask any one in the casino

floor,w hey they w ere there,orwhatw ere they doing in thisplace.

       201. n ecasinowasnolongerpackedbœausethemajorityofthecrowedhadalready
gone butstilltherew ere people in the casino

       202. Plaintiffthoughtflrstthe security guard knew him from any priorencounterand

waskindofjackingwithhim.
       203. PlaintiffIooked atthe om cer,unsure w hatto say orwhatthe ofticerm eant.




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         204. Thesecurityoffkeraskedplaintiftlasifpoliceasking you ifyou aredrunk,if
plaintifrhad been playing,thatnight.

         205. Stillin shock and uncertain w hy he wasasking these questions,plaintiff

m sponded to the security guard thatyeshe had been playing and thathe w asw aiting forone of

theBlazing Seven M achines,thatM aurice was occupying,to open,so he plays the m achines he

had com e to play and thathew asnotyethaving a chc ceto play.

         206. n e security officerlooked,as ifhe w asnothearing any w ord plaintiffw as saying

ashe w ashearing something som eone else wastelling him in his earbud.

         207. Plaintiffaskedthesecurityguard:FSFwtu heaskingplaintt thosequestions''
                                                                                   .
         208. n e security guard said:''
                                       B ecause Iw tu told to com e to check whatyou are doing

here''

         209. Plaintiffwassum rised even m ore thatsom eone above him ,in this casino,had

ordered him and wasdirecting him to ask plaintiffwhathe wasdoing in the casino

         210. Plaintiffmassured him selfhe washearing him correctly by asking the om cer:

''They toldyou to come and check on me?''

                n e security guard told plaintiffdid notansw erplaintiffbutordered plaintiffto

getout.

         212. The officeradded he cannotstay them and Iook atothersplay

         2l3. Plaintifftold the security guard the casino wasfullofpeople w ho w ere not

playing fora m om ent,and he neverhad seen anyone tellanyone else thatthe m om entyou am

notplaying you should getout.

         214. n e security guard w as staring atplaintiffasifhe should forcefully rem ove

plaintiF from there and waiting forplaintiffto startwalking outside.


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       215. Plaintiffdid notm ove and asked the security guard again:''F/le# toldyou to single

meout,andkïckmeoutofherebecauseIam notplayingforasecond?''
       216. The offk ersaid to plaintiff''sk'ou areovershadow ingpeople''

              Plaintiffdid notknow whatovershadow ing m eantbuthe assum ed to m ean you

are standing behind sum m ons'sshoulders,thatwasa lie and even ifitwasa true,the casino was

filled w ith people watching othersplay every tim e and non-had everbeen bothem d by forthis

unless,forthem to have any otherthan retaliating againstplaintiffbecause they knew plaintif

wassuing them e fortheirdiscrim inatory actsagainsthim .

       218. W hile the officerw asgetting im patientthatplaintiffw asnotgetting outofthe

c% ino,plaintiffasked again; ''You are kicking me outbecause 1am notplying zlow whileso

many,aredoing exactly whatyouareaccusingme,in#ontofyourey,
                                                         el?''
       219. n eomcertoldhim heisdoingwhatheistoldandheisdoinghisjoband
od ered plaintiffto getout.

       220. Plaintiffasked forhisnam e and the security guard said hisnam e is M alcolm .

       221. Hum iliated and threatened,bullied,Plaintiffleh to neverstep footin this racist

place ever.

                                           -   0-

Count29
       222. W alkingoutthatnight,Saturday,July 2018 ataround 3-4Am (chased by these
de#ndantsoutasifhewasastraydogorasifhehadcommittedanactofcriminalconduct,all
he could see were people standing behind otherpeople,watching othersplay evelywhere,and

thisdisturbed and troubled him im m ensely,forthe factthatthose looked allAm erican bol'n.

       223. Plaintifffeltthiswasnotright,and ifhe everw asgoing to com plaint,he wassure

thesedespicabledefendantswouldtlatlydenythiseverhappenedMdnotevenasinglejudge,in
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the entire nation w ould believe thissortofthingscan everhappened in an A m erican place of

accom m odations,like thiscasino.

       224. Plaintiffdœ ided forthisreason to go to the cartake hisCellphone and com e back

and take picturesofeveryone watching othersplay w ith notthe slightestsign ofdisturbance and

harassm entfrom these defendants,sim ply because they w ere alllooking A m erican born guests.

       225. Plaintiffx turned back w ith hiscellto take picm res ofevery one he could see on

the tloor,standing behind people playing and w atching them play,bothered by no one from this

casino butplaintiffsphone wasdead and he wentback to the carto chargethe phone.

       226. Oncethe phone was charged enough forhim to takea few pictures,plaintiF cam e

back to the casino.

       227. W hen plaintiffretum ed,M aurice wasstillplaying and Daniele wasstilllooking

overhisshoulder.

       228. M auricesaidto plaintiftlassoonasplaintiffcam eback,thatthesecurityguy
cameandaskedhim andDanielewhatyou(forplaintifg weredoing,andlooked likethey
(defendants)wantedtogetsomeexcusetokickyououtofthecasino.
       229. M auricetoldplaintiftlthatthesecurityguardhadaskedDaniel,ifhe(plaintifg
hadbeenplayingandDanieljumpedandsaidççltoldhim (fortheoffker)thathe(plaintim has
beenplaying,buthe(theofficer)forcedyounon thelessto getouto
       230. M aurice and Danielasked plaintiF how did they 1ethim in again and thatw asn't

him agaidtheymightcallthepoliceandarresthim (plaintim .
              Thisw astoo much forplaintiffto bear.

       232. Plaintiffw % completely devastated,shaking and wrecked em otionally and allhe

said to M aurice and D aniele was:'Y have the rightto be here as long asIwantand whenever1


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wantandIhavegiventheseevilssomuchmoneyforthem todarekickmeoutfornothingIhave
done''

         233. Plaintiffwasafraid ifhe took picturesthey w ould com e and take hisphone and

bm ak it,buthe had no otheroption to provethathe wasbeing discrim inated and started to take

pictures ofevery person he saw in the casino w atching othersplay.




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                                             -       0-

Count30
     234. W hile plaintiffwastaking pictures ofguests notplaying and watching othersplay

totally unbothem d and undisturbed by these defendantsw ho kicked plaintiffoutofcasino fornot

being actively playing a m om ent,a differentsecurity om cercam e to plaintiffand told plaintiff

he can't'takepicturesin the casino,while people do thisevery single day in the casino and no

oneeverhasbeen told notto take pictures,as,they w erenow telling plaintiff.

                                                 -   0-

Count31
     235. n isnew security guard,interfering w ith plaintiff,because plaintiffwasusing his

cnm era in this place ofaccomm odation,whilepeople evelywhere w ere using the cam eras

undisturbed,looked into plaintifrsphone asifhe wanted to take hisphone away and plaintiff

puthisphone in hispocketasthe only w ay to stop him from taking thephone from hishand.

       236. n e security offk erwas ok w ith plaintiffputting hiscam el'a in hispocketand he

walked aw ay.
       237. Plaintiffthen w alked straightto the M alcolm the frstsecurity offk erwho kicked

him outearlier,and approached M alcolm in the area between the A sian Restaurantand the

Security D esk,between the slotm achinesand the gam ing tables.
       238. Plaintifftold M alcolm thathe spendsthousandsofdollarshere every nightand

thathedid notappreciate them harassing and intim idating and threatening him fornothing he

had done,accusing him forsomethinghehaddone(overshadowing)and forsomething everyone
wasdoing in thiscasino with no trouble from them .
       239. Plaintifftold M alcolm to tellthem ,whoeverhad ordere him to actthisway and

kickhim outthathe(plaintio hadtkenpicturesofeveryonearoundnotplayingandsimply
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watching others,and told M alcolm to see them everywhere,to realize thathe was notgoing to 1et

thisheinousand despicable discrim ination based on foreign origin go away.

         240. Plaintiffpointed outto M alcolm thateverywhere people w ere watching others

play undisturbed,butM alcolm ignored this,saying he doesw hathe istold to do,notcaring that

plaintiffwas forced outforsom ething othershad no problem doing in this casino.

         241. Plaintiffhad no option leR butwarn M alcolm before M alcolm called forothersto

com e kick him out,butw arn M alcolm saying:'7 willnotletthisgo,and Illcve allthepicturesto

straighten this in a court0./*
                             /- andyoudon'tneedtocallanyonetokickmeoutbecauseIam
leaving now ''

         242. M alcolm said nothing w hile m aking sure plaintiffwas leaving staring atplaintiffas

plaintiffstarted to w alk outofthe casino.

                                               -
                                                   0-

Count32
     243. On Sunday July 29th plaintiffand hisfriend J.Lee had been playing allnightthe

sam e Progressive Blazing Sevensthey play every tim e.

         244. Both plaintiffand Lee had been like usuallosing allnight.

         245. Around noon tim e,Silvia,and Am erican born gussetofthiscasino wasplaying

m achine no.13.18.03.

         246. Sylviatold plaintiffshew anted to putthatm achine on hold fora couple ofhours,

butshew asnota black card m em ber.

         247. Sylviaaskedplaintiffifplaintiffcouldjumpinhermachineplayacoupleof
dollarsand reservethe m achine forher,asthey,Am erican Born Gusts did,al1the tim e,foreach

other.

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       248. Plaintifftold Sylviw ''You almady know they don'tletme even cup form yselfand

take my card w ith them to check how m uch lhave played and they tellm e you have notplayed

enough and tellm e enough issom ething they decide notletting m e know whatenough is.

       249. Sylviaknew thisbutSylvia did notcare atthism om ent,whatthey did to plaintil

and how they treated plaintiffshewanted hermachinetobereserved,and wantedplaintiffto try

itanyw ay.

       250. Sylviasaid to plaintift 'Uustxtz-p-m ?zdon'
                                                      twanttohelp ''they willnotdaredo this
           z,they neverask us how m uch we haver/tz.pand checkourcardsbehindtheirwalls,
again to.m l

thatwtu stupid they did to you. You wantto hel
                                             p or Fl0/''.

       251. Plaintifftried to reason w ith Sylviathathe doesnotdare even to puta cup on

m achineshebeen playing because cannothandle theirhum iliation and harassm ent,and thathe

would have helped herin a heartbeatifhe w asA merican born and treated like allofthem .

       252. ThisisracistSylviatold plaintil implying plaintiffwasmaking someracist
assum ptions.

       253. Ofcourse,plaintiffand you know how faritis,ifiam playing and use m y own

card,they willnotIetm e and w illtake m y card to check itbehind the w alls and no m atterifi

have been playing a w eek straightand putting zothosuand dollarsin thism achine they stillcom e

and say w asnotenough,but

       254. Itellyou w hatifIgive you m y card and you tellthem you wantto stop any

m achine noteven w ith yourcard butm ine,as long asyou don'tlook A m erican born this m f

flthy racistcow ards,willblock the m achine foryou w ith no question asked.

       255. Sylvia laughed and took plaintiffscard to try itout.


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       256. Sylviadid noteven calla slotattendantbutcalled one ofthe m anagerson the

floor,thatday(SundayJuly29,2018)inhermachine(MachineNo:13.18.p-gandtoldthe
m anagerto block thatm achine forherhanding herplaintiffs card and,even m ore,

       257. SylviatoldthemanagershewasusingSami'scard (SamiisplaintW sAlbanian
nativename)andallhisfriendsinthelivecasinoknow him bySami.
       258. Sylvia told the m anagerthatSam iiscupping ping itform e and to plaintiffs

shockandbewilderment,theywouldallow theAmericanborn(Sylvia)blockhermachineeven
w ith plaintiffscard w ith no question asked,aslong asthe benefk iary ofthisprivilegew as an
A m erican bom ,while they would notperm itdo the sam e even though itwashis ow n card and

theytookthatmachineoutofserviceforher(Sylvia).

                                            -   0-

Count33
     259. On Saturday,August18,2018 plaintiffw entto casino around noon.

       260. Plaintiffplayed a11day and allnightm ostly in the slotm achine 13.18.04 and lost

onthatmachine about$2400

       261. Around m idnightor l AM ,M onday August19th plaintiffdecided to change

m achinesand wentto play progressive sun m oon m achines,atthe end ofthe east-w estside of

the casino.

       262. He lostthere,another8-900 dollars.

       263. som etim e between 5 to 8 am on Sunday august 19th plaintiffretum ed back to his

blazingsevenmachine(machineNo.13.1804,wherehehadlostabout$2400.00.



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       264. Plaintiffsaw aslotattendant(ayoung black man)thathad openedthedoorof
thatm achine and w asm aking som e notes on notebook thatthey keep inside the m achine.

       265. n atnotebook,thatdefendantscannotdestroy,revealsexactly w hatplaints

allegesw ith no furtherprove needed atcourt,assam easallthe video recordings.

       266. Plaintiff%sumedthemachinewasoutpaper(rollofticketstheyprintout).
       267. Plaintiffdecided to play thatm achine in hopesofgetting back som e ofthe

M hundered dollars he had Iostin thatm achine,assum ing there w ere notm any people to have

played thatm achinew hen hew asplaying sun and m oon.

       268. Plaintiffasked the attendantifthe m achine w ould be ready to play soon

       269. n eattendantreplied:''
                                 1can'
                                     trevealthatinformationto7/?z''.
       270. Plaintifrasked w hatdid he m ean,asking again ifitw ould take a m inute oran

hourorallday long because he had been playing forlike 24 hoursand needed to know ifhe

could resistto w aitto play ornot,since he had spenta lotofm oney before in thatm achine.

       271. Thesotattendantsaid:'Y can'
                                      ttellu that''

       272. Thought,to plaintiffitsounded rude and im polite notgiving plaintiffany idea

when the m achine would beavailable to play,plaintiffaccepted the fact,thatattendanthad been

directed notto putthe m achine back in service and m oved on the otherside ofthose 5 m achines,

and started to play nextto a black lady.

       273. Plaintiffstahed to play now m achine No.13-18-01w hile the black lady w as

between plaintiffand the attendant,in the m achine in the m achine 13.18. 04

       274. The attendantwasstilldoing som ething to the door-opened m achine.




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       275. Theblackladytoldplaintiffthatthe(theattendant)wasputtingthemachineon
hold,fora Chinese ora K orean playerwho had losta lotofm oney in thatm achine and wanted

and w asdriving hom e to getm ore m oney.

       276. Plaintifftold the black lady GLAh ok,1understand buthe could Jltzve told m e that''

and continued to play,but,

        277. W hilethe attendantw as closing the doorand putting the m achine outofservice,a

whiteAmerican ladywithherhusbandorafriendofhers(theycometogetherearly inthe
momings)toldtheattendanttheywantedtoplaythatmachinehewasputtingoutofservice.
       278. The attendant,to plaintiffsand the black lady'ssurprise,assoon as these

am ercing born white couple,expressed interestto play thatputthe m achine,allegedly held foran

A sian player,who had rushed hom eto gd m ore m oney,relaying on these despicable defendants

to acts in good faith and reserve the m achine forhim ,tillhe return,m ade itready forthem to

play,somethingthey wouldnotdo forplaintiftlexploiting theAsian guy foranotherforeign
born(plaintiff).


                                              111.
  Factsevidencingexploitation ofplaintiz forthebenestand interestoftheirAmerican
                                          born guests


Count34
     279. Plaintiffwitnessed thatm orning,A ugust lK h,thateven when defendants

extended the sam e rightsprivilegesoFered to allbutdenied the foreign born guests,to foreign

bom playerslike the A sian gentlem an who fled hom e to bring m ore m oney in hopesofgetting

back som e ofthe m oney he had lost,based on the 98% m oney back advertisem ent;



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       290. Defendants,stillused thisto exploiteven m ore the foreign born forthe benefit

and interestoftheA m erican born guests,because,

       281. n e Asian playerleftto getm ore m oney,in hopesthathe w illdefendantswould

hold his m achine outofservice in good faith forhim to try and getback a portion ofwhathe had

spend,asthe m achine was supposeto pay aspartofthe 98% but



Count35
     182. Dem ons% ting theirbusinesspractice routine and habitto abuse discrim inate and

exploitforeign born guests,forthe benefitand interestofthe Am erican born players,defendants

opened the m achine they had supposedly reserved,in good faith forthe Asian gentlem an and that

they had refused to plaintiffand

                                           -   0-

Count36
     283. A ssoon asthis white Am erican bom couple satdown the m achine,thathad been

cold allday forplaintiffandfortheAsian guy,gothotasiftouched byam agicwand,and

stnrted to hitred sevens ahermd sevensbecause,once the white couple inserted on ittheir

m em bership card and

       284. n e w hite Am erican born,in less than 15 m inutes with lessthan 100 billinserted

on thatm achine,gotaround 800 -900 dollars,and the electronically stored inform ation,that

these defendantscannotdare destroy w illprovethis in the court.

                                           -   0-




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Count37
     285. Once the white am ercing born couple gotcloseto a thousand dollars,thatwasin

10-15 m inutesw ith about 100 dollars invested having hit3-4 they quitand;

                                            -   0-

Count38
     286. W ith the m ostheinousand despicable actsofexploiting som e groups ofpeople

forthebenefitandthe interestofothers,these defendants(theslotattendant)com eto putthat
m achine,back outofservice,to hold forthe A sian guy w ho hey had robbed asgangstersand

thugs,in bad faith,behind hisback,proving routineand habit.

                                            -   0-

Count39
       287. œ fendantslehthemachineflushing(theyjlashwhenoutofservice)inorderto
deceive and defraud the Asian playerthatthey the m achine had been keptoutofservice forhim ,

to m ock and abuse and extortfrom him another3-4 thousand dollars,thatthese evilcowards do

itpurposefully exploiting the factthatthe addicted playersw illgetm ore desperate and loose

m om m oney,tricked to do so by the heinouscow ard actsofthese despicable entities.

                                            -   0-

Count40
     288. O n M onday.August20,2018 Plaintiffx ceived an offerto stay forfreeatthe live

Ioh hotelthatthese defendants.

       289. n ate m ailwassend to plaintiffby defendantlessthan 24 hoursearlier,at10 AM

August 18,2019.




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        290. n atofferwasautom atically generated and addm ssed to alltheirm em bersw ho

held ablack orahigher-rankingcard membership ofrering a9ee3 daysstay atIive loRsora

xduced price forthosethree days atlive hotelwho is partofthe casino.

        291    The dayswere exactly thatM onday and tillW ednesday.

        292. Plaintiffcalledthedefendantsthesameday,on M onday August20th to reserve

histhree nightsasa privilege o/ered to him and to aIlIike guestswho held a black card.

        292    Plaintiffcalled to m ake the reservation ataround 5PM

        294. W hen plaintiffcalled the person answering the phone said they needed his

m em bership card.

        295. Once they checked plaintiffs inform ation and leanw d w ho plaintiffis they said to

plaintiff:''SorrywedonothaveroomsforthisCaIXInumber''meaningforthisperson(plaintifg.
        296. Defendantsdidnotsay thisto plaintiffwhen hecalled butonly aherthey verified

which ofthe em bershe w asclearly continuing w ith theirhabitand routine to discrim inate

againstone orsom e v oupsforthe benetk ofsom e othergroupsand forthe interestand benefit

ofpleasing som e selected playersatthe expense ofothers.

forexam ple,we do nothave any m ore room soraIlroom swere sold out,they exactly asked can

we have yourm em bership Id?

                                             -   0-

Count41
        297. OnWednesdayœ c19,2018whileplaintiffandCorinneGreen (below ispictures
0.*   0thPlaint# andGreen)wereplayingablackAmericanborn lookingandsoundingwas
playing nextto them on two m achines atonce;04 and 03.


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       298. Ataround 11;30 she called a slotattendantto puta cup on both m achines.

       299. The attendant,disabled both the m achines forherwith no question asked.

and reserved forthe playershown in the incorporated picture bellow




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                                            -   0-

Count42
     300. On Friday Decem ber21,2018 plaintiffand J.Lee were playing togetherand Lee

washolding one m achine she ahd been playing to com e back to itifthey hitin teh other

m achine.

       301. As iteasy,can be proven though electronically stored inform ation,3-4 slot

attendantscam e and told Lee she isnotallowed to do this.

                                            -   0-

Count43
     302. 0 n Thursday,Jan.3 2019 awhite Am erican w om an tum ed the chairand leaned it

againstone ofthese blazing Seven m achines and placed herclothson the chair,to telleveryone

she was holding them tatm achine forherselfto play itlateron and held itwith no problem from

these defendantsfrom 6-7 PM tillaround 11 PM .

                                           -    0-

Count44
     303. ()n Sunday Feb l7,2019 defendantsw ere organizing an eventcalled ''RED

EN VELOPE GIV E A W AY ''where a1lblack card and/orhigher-m nking caM m em berswere

invited to participateforachancetowin up to$188.000.00 dollarsand whereevery pm icipant

would be a w inner.




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         304. Everm ne interested w ason line and plaintiffasblack card holdergotonline as

well.

         305. Defendantshad people in frontselecting w ho isand w ho isnotqualified though

Kd

         306. œ fendantstookplaintiffscard(theysaidnothing)wenttocheckitandcame
back to tellplaintiffhe doesnotqualify and to getoutofthe line.

         307. Plaintiffasked to know w hy he asa black card holderwasnotqualified and asked

to know thecriteria to qualify.


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       308. n e slotattendantgotannoyed and im patientand told him ''you don'
                                                                            tqualify''

leaving itup to plaintiffto be kicked outby theirsecurity orleave the Iine.

       309. n ough itisclearthatthisw asan unlaw fulactifthe m em bers ofthe certain

m nking card w ere stillbuying the chanceto two participateratherthan pure Iuck,plaintifffound

theirheinoustacticsto arbitrary decide who qualifies ornotand theirrefusalto disclose the

criteria requirem ents,asdespicable toolsto abuse and exploitcertain groupsofpeople forthe

benefitand the interestofthe othergroupsby these 2 defendants.



                                           IV .
Facts evidencing False A rrest& M alicious Prosecution againstplaintif for the benestand
                        theinterestofthe A m erican Born G uests.


Count45
     311. On Friday O ctober 18,2019 ataround 7:50 PM plaintiffwasbreaking a few

hundred-dollarbillsinto 20-dolIarbills using 2 V oucherCashing/ATM m achines,nextto the

high lim ittable entrance thatison the leh ofthe security desk.




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       312. Plaintiffwas using both the m achinesw hile one was processing the task he would

insertthe m oney on the otherone.

              W hile Plaintiffwas,taking the m oney from the IeA A TM he noticed

ayoung balk w om an who looked am ercing approaching the rightm achine.

       314. PlaintiF extended hishand to getthe m oney from therightm achine to letthe

Am erican born guestuse the rightm achine.

              W hile plaintiffm ached forhism oney,she turned and said to plaintiff;''isthis

yourm oney?''

       316. Plaintifftold her itw ashism oney and grabbed hism oney.

              The Am erican born looking guestsgotcloserto plaintiffin a threatening m anner

telling plaintiffto give thatm oney to herbecause,she said thatm oney isnothis.

       318. Plaintiffthoughtshewasjackingwhileshebecamemoreaggressiveand
persistentand threatening dem anding hism oney.

       319. Plaintiffwaslooking forhelp and everyonew asnow staring whatwasgoing on

and yetno one cam e to help,though ifitwasplaintiffinstigating the fightand disturbance,they

wouldhavejumpedinsecondoverplaintiff.(Again,thepreserved(stored)electricalinformation
thatdefendants would notdare deskoy,w illprovethisto the court.

       320. n eA m erican born looking guestsgotbolderthatno one wasstopping herfrom

the security ofthiscasino and because plaintiffw astrying to avoid confrontation atallcost,and

wastrying to walk in eitherdirection,before attracting m ore bad attention thatem banw sed and

gightened him im m ensely.




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              Plaintiffw asleA to handle thison hisow n w hen the security people ow ed him

som e m inim um pm tection butw eredenying it,and seeing hernotstop butgetcloserin hisface,

plainti/ inally tum edangryatherand said:'Are ustupid u idiot1thoughtyou werejoking,
/etzve me alone Ok''

       322    Plaintifflooked again forhelp butno help w ascom ing to m solve thissituation

and she w asnotgiving up dem anding hism oney,though the security desk w as nextto w here all

washappening,som ething thiscasino would nothave done ifplaintiffw asthe one attacking and

trying to rob an A m erican born guestofthisplace ofaccom m odation.




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       323. Plaintiffdid notknow how to escapethis situation before being hitorbeing

scratched by thisAmerican bom woman forwhich plaintiffcould do nothing becausehe

considersfighting orhitting a wom an the lowestofthe lowestactofa m an and yet:

       324. Quarreling,fightingorbeinghitorslappedbyawomanwasjustassame
der ading harassing and em barrassing to him .with no help by any one.

       325. Plaintiffnoticed thata few m etersagainstthe w allwere the restroom sand he

thoughtthe only placehe could go where she could notchasehim ,having no otherprotection at

thatm om entw asto head to the restroom s.

       326. Plaintiffstarted to proceed toward the butshe w asfollowing him the sam e

aggressively asking forthe m oney,with plaintiffbeing pem eived,atleastin theplaintiffsm ind,

asa thief.




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       327. Plaintiffsow every oneplayingtablesand slotmachinesstaring and yetnotofthe

casino em ployeesbothered to w arn the security guardsto com e help though they should have

donethatthem selves,asthey do in second,ifan Am erican born guestsw asthe potentialvictim .

       328. The Am erican born guestgotin frontofplaintifftook herphone and broughtitto

plainti/ sface taking picturesofplaintiff.

       329. Plaintiffwasnow panicked and terriGed thata boyfriend ora pim p ofhers,

thinkingthewolstofher,atthatmoment,orfriendshemighthavecomewith,wouldjumpon
him and beatthe helloutofhim ,and yetno one from casino w ascom ing to help.

       330.    Plaintifrwastrying notto lose hiscom posure and w astrying to slide through her

and into the m en'srestroom s',tithe only place he could 5nd som e sanctuary in thisplace of

accomm odation,asaforeign-bom guest whereno onewasofferingprotection,heneededand as
ifthey w anted plaintiffto reactand find som e excuses and pretexts to falsely accuse and

pm secute him .

       33l. Plaintiffwas able to reach the restroom sand he wasable to enterthe restroom s

and she did notfollow him inside.

                                               -   0-

Count46
     332. W hen plaintiffcam e out,she wasnotthere and plaintiffdecided to go to the

sœ urity desk to ask them w hy they refused orneglected to help him ,in this traum atic situation

he had in thisplace ofaccom m odation,when they ow e him som e sense ofsecurity and had to

pm vide itto him ,even ifthey did notgivea dam n forhim asa non-A m erican bom guest.




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        333. W hen plaintiffapproached the security desk theyoung A m erican black lady w as

there talking to him and the security oftk er,ordered plaintiffto stop thex and notm ove and not

say a thing to him .

        334. Plaintifftried to tellsecurity om cerwhatthe storey wasbuthe refused to listen to

plainti/ while being nice and respectfulto the otherguestwho wasan Am erican born while

plaintiffisnot.

               Plaintiffnow sow otherpeople and his friends playing blazing sevens with him

staring whathad plaintiffdone to be treated and arrested Iike that.

        336. The security did notperm itplaintiffto go,w aiting forsom e otherpeopleto com e

to help him handle plaintiffw hile talking nice and respectfully to the A m erican bom thiefand

thug.

                                             -   0-

Count47
     337. Plaintiffdid notlike the attention from the c% ino and neitherthe fallsarrestand

% ked ifhe could give the security desk hisdriverlicense and hism em bership card ID and go

play his machinestill,they w ere ready to talk to him aboutthe incident,to avoid the harassm ent

and the attention.

         338. The security guard told plaintiff:''
                                                 Y ou cannotgo nowhere''.

         339. Plaintiffwasvery angry,and feltvery hum iliated and threatened and har% sed by

these actsand told the security oë certhatwhatthey w ere doing to him wasnotright'

         340. n e om cerdid notcare.




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       341. Plaintiffinsisted hatthey had no reason to detain him ,and thathe was the one

who needed theirhelp thatthey denied and thatnow they were acting w ith him exactly as she

w asacting w ith him .

       342. Plaintiff% ked the oftk er,w ho wasignoring plaintiffand notletplaintiffm ove,

whatwould be the consequences ifthe cam era recording proved thatthey had failed orrefused to

help him and thatthey had falsely arrested and detained him .

               The security guard again did notcare whatplaintiffasked and continued to talk to

theAmerican bom guests,telling plaintiftlascamerasrecordingwillproveto the court,to keep
the distance from them butnotdare m ove,orgo aw ay.

       344. Plaintifrcould noteasy acceptthisheinousand despicable discrim inatory

treatm entand this false detention and told theofficerthat;''ifaRerreview ing the cam erasisseen

thatplaintiffdid anything wrong orstole took herm oney,asthey w ere accusing him you callthe

policeandtakemetojailbut;
       345. Plaintiffsaid to the om cer thatifthe cam era provesthathew as the victim w hen

they failed and refused to help and thatthey w ere treating him ,ascrim inal,w ith no prove thathe

had done anything to betreated thatway, sim ply because he looked and sounded foreign born
while she did not,then they would have a m uch biggerproblem with him in a courtoflaw ,and

thathe was fed up w ith theircow ard and despicable discrim inatory actsagainsthim forthe

interestand the beneftofthe Am erican born guests.

       346. Plaintiffdecided to shuthism outh sincehe wasgetting nothing w ith his

complaintsand requestswhile they were threatening the thiefand the thug with outm ostrespect,

sim ply because she w asAm erican born and he wasnot.

                                             -   0-
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Count48
     347. Som e m inutesalterthatto plaintiffseem ed like yearsofem banw sm ent

intim idation he did notdeserve;anothersecurity guy cam e to the desk w ho claim ed to bethe

head security in thisplace ofaccom m odation.

       348. The head ofthe security w asa gentlem an called Gregory Chevis.

        349. Sœ urity Chevis ordered plaintiffto follow him to theA TM m achine and the

Am erican born guests follow ed them .

       345. She was insisting thatplaintiffstoleherm oney and they were treating plaintiffas

he had stolen hism oney and they did notcare to hearplaintiffs version ofthe story.

       346. SœurityChevis justasheothersecurity,continuedtochartwithgreatpatience
and respectw ith the Am erican born gustw hile keeping plaintiffattheirarm slength asthe

person notworthy ofrespect.

       347. Thisdespicable continued discrim inatory treatm enthurtplaintiffim m ensely and

terrified plaintiffthatthey were planning to callthe police on him ,on false pretenses,therefore:

       348. Plaintiffspoke now to the head security,Chevisthatifthecam era prove he stole

hermoney andnottheotherwayaroundthey shouldtakehim tojailrightawaybut,
       349. Plaintiffwarned him ,be prepared thatifcam eraproves otherwise around,he did

notcareiftheywouldsendhertojailornot,hewasgoingtotakethem tocourtforthis.
                                             -   0-




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Count49
     350. The head security,Chevis ignom d plaintiffand did notgive a dnm n w hatplaintiff

said again talking w ith respectw ith the black A m erica bom lady w hile waiting forsom eone w ho

wasnm ning the videosto tellhim who had robed ortry to rob whom ,though as long asthey

were concem ed itdid notm attersince they weretreating him msthe thiefand herasthe great

personwhohadbeenvictimizedbyhim bysimplyjudgingthathewasnonAmericanbornwhile
she was.

                                             -   0-

Count50
     351       ln the end the head security,Chevistum ed to the Am erican born thiefand thug

and bully guestand told her,w e can'
                                   tdo anything to him because,the videos showsw ashis

m oney.

       352. This wasalarm ing to plaintiF and torm enting to the core thatinstead ofarresting

herinthespot,andapologizingtoplaintiFforaIltheyhaddone,tohim,theyjusttoldher:''W e
are son'y w e can'
                 trob this foreign fuk..erforyou because the recording doesnotallow us''by

saying isnothing we can do because itlooks itwas hism oney.

                                             -   0-

Count51
     353.      W hile these defendantshad detained plaintiffundertheirspeculative m cist

pœ sum ption on the wrong they did nothing to the Am erican born guestexceptapologies to her

thattheycouldnothelpherandtakeplaintiff'smoneyandgiveittoherandtakehisasstojail
because the video recording prevented them .

                                             -   0-


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Count52
     354. Plaintiffbœ am e furious aboutwhatw asagain happening and asked forthe

security officer'snam e and the offiœ rgave plaintiffhisbusinesscard.




       355. n e Security Guard handed plaintiffthe card telling plaintiffto getaw ay;as if

''Go fu..ck youoelf'w ith no apology forwhatthey had done to him and w ith no respect.

       356. n e Head ofSecurity told the thiefand thethug who was an A m erican born sorry

fornotbeing able to help herand told herto go have fun w hile tum ing to plaintiffand threatened

plaintiffthatifplaintiffisseenanywhereclosetowheresheplatytheywilltakehisasstojail,
thatshocked and territied plaintiff.notonly because ofthisdiscrim inatory im m oraland heinous

treatm entbutbecause he had notto be extra cautiousnow wherehe play notknow ing thatthe
thiefand the thug m ightbe playing behind to give these despicable defendantsexcusesand

pm textto kick him outorprosecute him underfalse pretenses.

                                                -   0-
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Count53
     357. Plaintiffwas notatease w ith whathad happened to him and a few m inuteslater

hesaw,standing atthe security desk a differentgentlem an,a big w hite young guy.

       358. Plaintiffapproached him and asked him w ho w asthe big bossam ongstthem .

       359. n e security guy asked plaintiffwhy and plaintif explainedtohim whathad

happened.

       360. The security guy said to plaintif thatw hathad happened doesnotlook rightand

               Thesecurityguysaidthatthey(hiscolleagues)shouldhaveapologiestoplaintiff
and notto the lady trying to rob him .

                                           -
                                               0-

Count54
     362. n e security guy told plaintiffthathe would callpeople above him and thathe

would com e and gethim athisslotm achine

       363. Plaintifftold the security guy thathe w asgoing to play to the blazing sevens that

were notfarfrom the security desk.

       364. The security guy did notcontactplaintiffm aking itclearto plaintiffthatthis for

them wasnorm aldiscrim inatory practice.


                                           V.
 Factsevidencing Retaliation againstplaintiffasreaction to Plaintic sw arning ofa Legal
                                        Actions.

Count55
     365. 0n Sunday April,17,2021ataround 3:00 AM aherlloosing again,asusual,all

hism oney and aherhaving w itnessed,as usual,in thiscasino,foreign bom looking orsounding


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playersloose big and quick while others wasnotdoing fantastic eitherbutwere atleast,like

always,lasting m uch longer,w inning and losing,like in any othercasino,plaintifrwas fed up

and decided he should ban him selfforgood from thisplace ofaccom m odation.

       366. Plaintiffasked one ofthe casino employeesifshe knew how one can ban him self

       367. n e em ployee directed plaintiF to the security desk.

       368. Plaintiffasked the Security personalto help him ban him self.

       369. n e Security offkercalled som epeople and;

       370. n e Security om cerorderplaintiffto follow him .

              Plaintiffwasparaded through the people plying slotm achinesfrom the Security

desk nextto the cashier'sb00th,through the entire casino floorto a doorthatisnextto the

bathroom s,in the farend ofthe south w estside ofthe casino where thew allssplitthe casino

gam ing tloor from the parking garage.

              Plaintifl-had been aloyalguestofthisplace foryearsand spend forthem m ore

than 1.5 m illion dollarsto be treated w ith som e kind ofdignity from them ,even now when he

wasasking to be banned.

       373. Instead,hew asescoded,asa thieforsom eone who had done som ething wrong,

in thatplace and w asbeing kicked out.

              Fora m an who had played here forso m any yearsand who had donated here so

m uch m oney,he believed som ekind ofthanksand gratitude and even hishostto com e and say

goodbyeandthankhim forhaving been aIoyalcustomerofthiirsand notescorthim ,likea
crim inaland to an exitdoorthatthatwasclearan actofretaliation,by thugsand crim inalswho

once they have sucked allyourm oney,w illthrough you outofthe boat.


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              Plaintiffhad expected,they would takehim to hishost,on theiroffcesnextto the

high lim ittable gam es,shackle hands and tellhim thathe cannotcom eback ifhew asbanned but

notthisw ay ofhum iliation and disgrace.

       376. W hile escorted toward thatw ay,plaintifffeltas ifa restaurantownerw askicking

youwithhisstuff9om thekitchenbackdoorjustbecauseyoudecidednottodineinthat
restaurantany m ore.

       377. The security offk erand anotherperson opened a door,where itappeared only

somecasinoemployeecouldgetthroughandtherewasahallwaythatappearedmore,likeajail
where arrested crim inalsare being processed,aAerhaving com m itted a crim e.

       378. Forfivepeoplecametoplaintiff and thevideo recording thattheycannotdare
destroy,pursuanttothelawsofESI,butmake availableattrial)thatthey triedto scareand
disparageplaintifffrom banning himseltlatallcost.
       379. They told plaintiffto think wellofthism ove because he would face severe

consequences,in the future,fordoing this,thatplaintifftook thiswillbe disclosed in his

personalinform ation and would harm hisfuture as ifa terrible bad thing.

       380. n eytoldplaintiffthatifhebanned himseltlhewould bearrested assoon ashe
cam e closeto thisplace,ifhe everchanged hism ind.

       381. n ey gave him som e papersto sign yetw ere notletting him sign because they

supposedly w anted to m ake sure he wasnotdnmk orinto drugs,som ething they had notasked

him w hen he w asplaying theirm achines.

       382. Plaintiffm peated to them m any tim esthathe doesnotduring and does notdo

dnlgsto getoverwith the paperw ork.



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       383. The security officerwasm aking threatening posturesstanding behind his

shoulders,to build fearand tension and to disparage plaintifrfrom banning him self.

       384. Plaintiffasked them thatthey did notask him before he staled to play his

m achines ifhe wasdrunk orin drugs,to m ake an intelligentdecision to play ornotasthey w ere

asking him now ,and they becam e angry and im patient,while doing everything from preventing

him to sign those papers.

       385. n ey were trying to escalate thisdecision ofplaintifrto ban him selfinto acontlict

and plaintiffhad to explain to them thathe w asdoing thisforhim selfand w as nottrying to be

m de ordisrespectfulto any ofthem .
       386. Plaintiffw anted to calm them dow n and notcreate a unnecessaly contlictw ith

him foraskingtobebanned,andtoldthem;''Iunderstandyouhaveajobtodoandaredoing
yourjobbutiwanttobanmyselt forthem toallow him signthepaperswithnoretaliation from
them fordoing that.
       387. n ey started again to discourage plaintiffnotto sign,stating,asthe record speaks

foritselt thatthepapersdo notstop him andthatheshouldstophim selfwithoutsigningthose

Papers.
       388. They insisted to discourage plaintifffrom banning him self,stating thatifhe

stopped him selfw ithoutsinging those banning papershe w ould notbe arrested,ifhe ever

changed hism ind.
       389. Plaintiffexplained to them thathe willdrive to othercasinos and he had m ade up

hism ind to be banned from thispalicularplace ofaccom m odation.
       390. n ey told plaintiffthathe would neverbe allow ed to step footin any c% ino ifhe

banned him selffrom this place


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       391. Plaintiffsigned the papersand told them iwantto have the fearofbeing arrested

to dderm e from evercom ing nearplace.

       392. n ey insisted thathe go hom e and t-qke the papersw ith him ,and read them at

hom e and return them anotherday ifhe stillhad notchanged hism ind.

       393. Plaintiffinsisted thatthey Iethim ban him selfand told them that:V wantto

preventmyselffrom evercoming hereyouaretelling me,asftelling atfr?zgaddict,justcome
and fr.ythese drugs once m ore and then decideb'.

       394. n ey were getting m ore hostile and plaintiffunderstood they were trying to

instigate am entaldistressand crisesforhim to say ordo som ething thatw ould give them the

px textto kick him outinstead ofhim banning him self.
       395. Plaintiffw asforced do asthey were forcing him ,terrifed by theirhostility and

threatsin thissecluded area,underthe garage and farfrom any otherw im ess,thatcould be of

help,in any im provised,escalation ofthe events,and agreed to tmke the papershom e to read

them and bring them back anotherday,ifhe had notchanged hism ind.

                                             'w   0 '.-

Count56
     396. ARerplaintiffm ade thisdecision and took the appearswith him ,the told plaintiff
thatifhe wastaking the appearsto ban him selfwith him ,he could notwalk outthe sam e doorhe

had com ebuthad to leave 9om aback door.

       397. Plaintiffknew too m any people in this casino having been a regularnightly guest

ofthisplaceformanyyearsandcouldnotacceptsuchdisgraceandhumiliationjustbecausehe
wasdeciding to stop playing,m ore forthe factthathe cared a lotwhatothersm ightbe saying

why was he kicked from the back door.

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       398. n ey told plaintiffifhe knew how to go find the carin the 5th floorbecause they

would notperm ithim use the elevatorand thathe had to getoutand w alk and find the car,ifhe

wasbanning him self.

       399. Plaintiffsaid ihavecom e from the am en doorand ideserve to leave from the

m ain doorand only ifIenteryourplace aAerbeing banned you can do thisto m e butnow and

nottonight,lhave notdone nothing foryou to treatm e thisway.
       400. They said we can'tperm itbecause w ew antto m ake sure you don'tplay.

                                           -   0-

Count57
     401. Plaintiffbelieved he did notdeservethist'
                                                  reatm entand plaintiffbelieved they

owed him som e x spect,notto kick him outlikea stray dog from the back door.

       402. Plaintiffhad done nothing wrong,like fghting orstealing orcursing atpeople,or

bm aking anything to be kicked outofback doorand w alk from the ground floorto the faith floor

to fnd his care being prevented from using the elevatoreven to theparking garage.

       403. Plaintifftold them he deserves som erespectand thathe wanted to go say goodbye

to his &iends;A lm ira,Isaac,Angie and Anil who were stillplaying and who had offered him

som e m oney to play earlierw hen he told them thathe wasbanning him self.

       404. n ey told plaintifllsince hewasnotyetbanned,hecould even go play.
                                           -   0-

Count58
     405. ARerthe casino had reopened follow ing the closure due to corona pandem ic by

2021plaintiffhad started to play FireLinkslotm achine and only occasionally,he played the

Seven Blazing Sevens.



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       406. Som etim e around M iddle ofJuly 2021,plaintiF was playing one ofthe Fire Link

M achines,nextto the Blazing Seven M achinesthatwashaving problem sforday printing tickets.

       407. A lm ostevery tim e som eone tried to printthe ticket,the m achine w ould stop

m aking a strange characteristic notice,thatw asbothersom e to otherplayersand w ould notstop

tilla slotattendantarrive,to open itand fix the problem .

       408. Whenamachineexperiencesthesekindsofmalfunctions,(havingtrouble
acceptingcmshorprintingtickets),itstartstlashing,andmakingaveryIoudandannoyingnoise
tilla slotattendantarrivesto correctthe problem .

       409.    W hen the slotattendantcom esthe attendantfirstopensthe m achine to inspect

whattheproblem isand ifthe attendantcan fix itthe attendantfixesitand ifthe problem ism ore

dim cultthan the attendantcan handle the attendantcallsone ofthe technicians,they are distinct

because the slotattendantdress in black and yellow w hile the technician dressin black in this

casino.
       410. Ifthe technician too cannotGx ita:erthe technician arrivesifthe slotattendant

callsa technician,then thetechnician putsthe m achineoutofservice,pending repairs.

              M ostofthe tim em achinesactthisway when they are eitherfullofm oney,orout

ofprintingpapersandorwhenthereisapaperjam,thatslotattendantcan detectonlyaRerthey
open the m achine secured door.
       412. n ere are a few ofsuch m achines in the casino butplaintiffplayed m ostly the one

nextto the Blazing Seven M achines.

       413. n ere isa row ofabout 14-16 offire link m achinesnextto the B lazing Seven

M achines,placed back-to-back in a singleraw .




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       414. n is machine thatwashaving thiskind ofproblem ,getting stuck,every tim e you

w anted to printthe ticketwas in them iddle ofthe row facing west,toward the sm oking section

ofthe casino.

       415. Plaintiffwa playing thatm achine tilllate thatnight,w ith no people playing next

to him ,casino had alm ostgotten em pty,thatlate atnight.

       416. Plaintiffwas losing a lotofm oney and he could notstop playing itbelieving that

when the machine had sucked a lotofm oney and wastim eto hitand ifithititoughtto pay back

agood chunk ofthe m oney,he had lost,since ithad been cold forso Iong.

       417. O fcourse,like any otherplayerin this situation,plaintiF w asthinking thatthe

defendantsw ere controlling the m achine,and had no incentiveto pay him ,sine therew as no one

they could trick to play.

       418. Nonetheless,having abelieve thatmachineshave to pay back a personage they

have been fed w ith plaintiffwasfighting againstthe odds,hoping they w illin the end pay him

som ething notbecause oftheirgood heartbutbecause this isthe law .

       419. And finally in the end,aAer so m any exhausting hours,and aherso m uch m oney

in,the m achine hitand plaintiffthoughthe w ould getback som e m oney.

       420. The m achine paid nothing com pared to w hathe had invested,and plaintiffw as

surein him seltlitwasbecausehe wastheonly oneplaying,and they had no hard timeto
m onitorhim and stillallhism oney since he was betting big,and he slam m ed the spin button

harderunhappy w ith the operatorsofthis casino.

       421. Plaintiffdœ ided to stop playing because he was sure they would not1ethim play

and he,had realized he only had a chance to win ifthe m achines were crow ded and ifhe did not




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stay longinlm amamachinetogivethem (defendants)timetopinpointhim andchangethe
PayotltOte.
          422. lfthe casino w asem pty and he being foreign and appearing foreign born,like his

Philippine and Latino âiend he had no chance ofw inning in thiscasino.

          423. He had been in thiscasino a non-stop guestforyears day and nightto have

w itnessed thatonly Am erican born guestshad the snm e oddsto w in orloose i= spective ifthe

casino w as em pty orfull.

          424. Plaintiffdecided to printtheticketand leave to com e and play the restofthe

m oney thenextday and only when the casino was9 11,ifhe could m anage to fullthe operators

ofthiscasinowho(hewassurebynow)playedwiththemachinesbasedonwhowasplaying
them .

          425. W hen plaintiffpressed the cash outbutton,them achine started like m any tim es

before qashing and m aking the noise itm akeswhen the machine cannotprint.
          426. n ough there w ere no m any playersin the casino tloorthe attendantwere taking

forever,and plaintiffassum ed there was no reason forthat,exceptto m ake him getangrier,to

provoke som ething,asthey had donew ith him since he had inform ed them ,he w asbringing a

Iaw suit,orplaintifrassum ed to m ake him startplaying anotherm achine tillthey arrive.

          427. Plaintiffdecided to play anotherm achine tillthe attendantanives.

          428. W hen the attendantfnally cam e the attendantdid notopen the m achine doorand

did notprinthisticketbutw astalking to som eone.
          429. Plaintiffasked why wasn'tthe attendantfixing them achine and printhim the

ticket.




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       430. Theattendantsaidbecausethey(meaninghisJwrerv/lwrlaretryingtoseeif
plaintiffhad broken the m achine.

       431. n iswasstupendousbeyondbelieve,toplaintiftlbecausethemachine hadbeen
having thisproblem fordays,and the m achine had no sing ofbeing broken ordam aged,usually

a screen cracked orbuttons dam aged,and they had noteven touched the m achine yetto open the

doorto inspectthe problem .

                                            -   0-

Count59
     432. The defendantsdid notallow the slotattendantto touch the m achine to open the

m achine doorto seew hatwas preventing the m achine 9om printing the ticketsom ething never

happened before forasIong as plaintiffhad been playing in thiscasino.
       433. Every single tim e itisthe attendantwho determ ines whatisw rong aAeropening

the m achine and notsom eone outside the c% ino floorw ith the attended notallow ed to even

tough yetthe m achine.

                                            -   0-

Count60
     434. The defendants did notallow the slotattendantto open the m achine and the

attended leR w ithouthelping plaintiffw ho w asw aiting to printtheticketfrom the

m alfunctioning m achine.
       435. Plaintiffwas sure they attendantw ould com eback aRerw hateverthey tried to

cook behind hisback and open the m achine and printhim theticketand waited forit,while

playing anotherm achine.




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       436. Som e m inute lateratechnician cam e to the m achine buthe too was notdoing

anything to printtheticketorinspectthe m achine,listening to defendantswho were directing

him w hatto do and notthe otherway around.

       437. Plaintiffasked the technician why wasn'theprinting his voucherorinspecting

whatw aswrong with the m achine.

       438. The technician said because they're trying to tind outifyou have broken the

m achine.

       439. Plaintiffsaid:aYou think the machine isbroken?''

       440. n e technician said 1did notsay the m achine isbroken;they are trying to

determ ine that.

                                            -   0-

Count61
     441. n e tœ hnician wassnally told to printthe ticketand plaintiffleq.

                                            -   0-

Count62
     442. On Tuesday,July 20,2021,ataround 10:00 PM ,two casino em ployees,one

appearing to be a m anagerofsom e kind and the othera security personalin civilian clothes

approached plaintiffin avery threatening and intim idating,and disrespectfulm anner,in frontof

otherpeople while plaintiffw asw aiting fora m achinebetween the blazing sevens,D ulette slot

m achines,nextto the cahiers.

       443. One ofthem asked plaintiff:RA re you are W illinm W hittm antr'.

       444. Plaintifrthoughttheywerethereto giveplaintiffaward ofsomekind,(the
personalhostsapproach people in this casino,in yetanotheractevidencing they m onitoryour

every move).
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       445. n ey told plaintiffyouhaveto pay usa$1300.00 dollarsxstitution.

       446. Thisthreatening and intim idating thug like approach did notconvince plaintiff

theywereseriousandhethoughtthiswasastupidjokethathedidnottindthatnmusingorfunny
buthethoughtitwasajokenonetheless.

       447. Plaintiffw% tryingtotigureoutifheunderstoodthem iftheywerejokingor
threatening him butsœ ing them stare atplaintiffw ith contem pt,plaintiffsaid:

       448    ççlowe you m oney?''

       449. n ey said:uYesyouoweus$13,000.00.Ax you going to pay ornot?W ecan
callthe police ifyou w antitpaid the hard w ay.

       450. Plaintiffwas shocked m ore than the way they had approached him forthreatening

him now w ith the police forsom ething plaintiffhad no clue,w hatthey were talking about.

       451. They did notletplaintiffm ove,telling plaintiffhe cannotgo anywhere tillhe pay.

       452. Plaintifflooked atthe people around w itnessing thisand said to them ;GGFt)?Z'
                                                                                         re

threatening me?''

       453. They said:çEl'e.çwe are threateningm u becauseyou O le the machine

1:rokeyourm achine''.

       454. Plaintiffxspondedtothem:**
                                     Nosir1havenotArokeanomachineofyoursyou
Jlcve broken me'.

       455. The m anagersaid to plaintiff:''You eitherpay oryou can 'tstay here''.

       456. PlaintiF said:tt1can'tbe hereF',and w ith withoutw aiting theiranswerw anting

no escalation tum ed to departand leave thisplace forgood.



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       457. n e m anagerdid notlike thisand told plaintiff; ''Wheredo you thinkm u are

going? ''preventing plaintifffrom Ieaving.

       458. Plaintiffsaidtohim:'Dldn'
                                    tm ujusttellme1can'
                                                      tJ'
                                                        /tz
                                                          y'here(/'
                                                                  Jdon'trtzyc''

       459. Themanagersaid:GGyes,youcan't.ç/J.pifyoudon'/#tz-p,butyoucan't/emzelike
thatwcwillescortyououtand lzllkcsureyouaregoing stral
                                                    khtoutand & notattemptto#/J.F''.

       460. Plaintiffsaid:'Gk'
                             oudon'tneedtoescortmeIkaow thedoorwhereIcamefrom ''.
       46l. The managersaid: ''
                              N o,thesecurit
                                           y willescortyou,and where isyour car

#Jrg fp ''

       462. Plaintiffa ked him ; '6Why doyou need to ka/w where lhaveparked? ''

       463. n e managersaid: 6*
                              So we can escortyou to the car''.

       464. Plaintiffsaid to the m anager: *4You wantme now to controlm eand com mand my

acts even outside the casino''

       465. The Security guy escorted plaintiffout,and on the way-outplaintiffencounterhis

giend Alm ira,who asked surprised thatplaintiffw asbeing escorted out:

       466. ççsam iwhathappened''

       467. Plaintiffanswered Alm ira;GGn ey kicking m e ouf'.

       468. A lm ira asked plaintiff;ççK icking you outforw hat''

       469. They say 1broke the fire link m achine,thathasproblem printing the tickets''

       470. Alm ira said;n ey Know dam n wellyou have notbroken thatm achine,that

machine ahshad problem forweeks''and the security om cercontinued to escortplaintiffoutfor

0nething and onething only retaliate againsthim because plaintiffw assuing them and they

knew itand do thisbefore he tilesthe lawsuit.

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      IHERFORE plaintiffpraysthatthecourtassignsplaintifftheServiceoftheAttorney
General,pursuantto -jlpppt
                         z...
                            l(a).andprovideforthereliefasaskedin 10ofthisComplaint.




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